EXHIBIT A
Please read the policy carefully. If there is an
accident, contact your State Farm agent or one
of our Claim Offices at once. (See “INSURED’S
DUTIES” in this policy booklet.)




                                                   State Farm®
                                                   Car Policy
                                                   Booklet




                                                   Georgia
                                                   Policy Form 9811B
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                                                  THIS POLICY
1. This policy consists of:                                        b. unless otherwise stated in “EXCEP-
   a. the most recently issued Declarations                           TIONS, POLICY BOOKLET, & EN-
        Page;                                                         DORSEMENTS” on the Declarations
                                                                      Page, in reliance on the following state-
   b. the policy booklet version shown on                             ments:
        that Declarations Page; and
                                                                         (1) The named insured shown on the
   c. any endorsements that apply, including                                 Declarations Page is the sole
        those listed on that Declarations Page as                            owner of your car.
        well as those issued in connection with
        any subsequent renewal of this policy.                           (2) Neither you nor any member of
                                                                             your household has, within the
2. This policy contains all of the agreements                                past three years, had:
   between all named insureds who are
   shown on the Declarations Page and all                                     (a) vehicle insurance canceled or
   applicants and:                                                                nonrenewed by an insurer; or
   a. us; and                                                                 (b) either:
   b. any of our agents.                                                            (i) a license to drive; or
3. We agree to provide insurance according to
   the terms of this policy:                                                        (ii) a vehicle registration
   a. based on payment of premium for the                                           suspended, revoked, or re-
        coverages chosen; and                                                       fused.

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       (3) Your car is used for pleasure and          b. we provide this insurance on the basis
           business.                                     those statements are true.
4. All named insureds shown on the Declara-       5. Your purchase of this policy may allow
   tions Page and all applicants agree by ac-        you to purchase certain coverages, cover-
   ceptance of this policy that:                     age options, coverage deductibles, cover-
   a. the statements in 3.b. above are made          age limits, or coverage terms on other
       by such named insured or applicant            policies from the State Farm Companies,
       and are true; and                             subject to their applicable eligibility rules.




                                           DEFINITIONS
We define certain words and phrases below for 2. the end of the 14th calendar day immedi-
use throughout the policy. Each coverage in-           ately following the date the car is deliv-
                                                       ered to you.
cludes additional definitions only for use with
that coverage. These definitions apply to the If a newly acquired car is not otherwise af-
singular, plural, possessive, and any other form forded    comprehensive coverage or collision
                                                  coverage by this or any other policy, then this
of these words and phrases. Defined words policy will provide Comprehensive Coverage
and phrases are printed in boldface italics.      or Collision Coverage for that newly acquired
                                                  car, subject to a deductible of $500. Any cov-
Bodily Injury means bodily injury to a person erage provided as a result of this paragraph
and sickness, disease, or death that results from will apply only until the end of the 5th calen-
it.                                               dar day immediately following the date the
                                                  newly acquired car is delivered to you.
Car means a land motor vehicle with four or
more wheels, designed for use primarily on Non-Owned Car means a car that is in the
public roads. It does not include:                lawful possession of you or any resident rela-
                                                  tive and that neither:
1. Any vehicle while located for use as a
     dwelling or other premises; or               1. is owned by:
2. A truck-tractor designed to pull any type of        a. you;
     trailer.                                          b. any resident relative;
                                                       c. any other person who resides primar-
Car Business means a business or job where                 ily in your household; or
the purpose is to sell, lease, rent, repair, ser-
vice, modify, transport, store, or park land mo-       d. an employer of any person described
                                                           in a., b., or c. above; nor
tor vehicles or any type of trailer.
                                                  2. has been operated by, rented by, or in the
Newly Acquired Car means a car newly                   possession of:
owned by you. A car ceases to be a newly ac-
quired car on the earlier of:                          a. you; or
                                                       b. any resident relative
1. the effective date and time of a policy, in-
     cluding any binder, issued by us or any           during any part of each of the 31 or more
     other company that describes the car as an        consecutive days immediately prior to the
     insured vehicle; or                               date of the accident or loss.
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Occupying means in, on, entering, or exiting.        2. a ward or a foster child of that named in-
Our means the Company issuing this policy as              sured, his or her spouse, or a person de-
shown on the Declarations Page.                           scribed in 1. above.
Owned By means:                                      State Farm Companies means one or more of
                                                     the following:
1. owned by;
                                                     1. State Farm Mutual Automobile Insurance
2. registered to; or                                      Company;
3. leased, if the lease is written for a period of   2. State Farm Fire and Casualty Company;
     31 or more consecutive days, to.                     and
Pedestrian means a person who is not occupy-         3. Subsidiaries or affiliates of either 1. or 2.
ing:                                                      above.
1. a motorized vehicle; or                           Temporary Substitute Car means a car that is in
2. a vehicle designed to be pulled by a motor-       the lawful possession of the person operating it
     ized vehicle.                                   and that:
Person means a human being.                          1. replaces your car for a short time while
                                                          your car is out of use due to its:
Private Passenger Car means:
                                                          a. breakdown;
1. a car of the private passenger type, other
     than a pickup truck, van, minivan, or sport          b. repair;
     utility vehicle, designed primarily to carry         c. servicing;
     persons and their luggage; or
                                                          d. damage; or
2. a pickup truck, van, minivan, or sport utility
     vehicle:                                             e. theft; and
                                                     2. neither you nor the person operating it
    a. that is not used for:                              own or have registered.
        (1) wholesale; or                            If a car qualifies as both a non-owned car and
        (2) retail                                   a temporary substitute car, then it is consid-
                                                     ered a temporary substitute car only.
        pickup or delivery; and
                                                     Trailer means:
    b. that has a Gross Vehicle Weight Rating
       of 10,000 pounds or less.                     1. a trailer:
Resident Relative means a person, other than              a. designed to be pulled by a private pas-
                                                              senger car;
you, who resides with the first person shown as a
named insured on the Declarations Page and who            b. not designed to carry persons; and
is:                                                       c. while not used as premises for office,
1. related to that named insured or his or                    store, or display purposes; or
    her spouse by blood, marriage, or adop-          2. a farm implement or farm wagon while
    tion, including a child of either who is              being pulled on public roads by a car.
    away at school and otherwise maintains
    his or her residence with that named in-         Us means the Company issuing this policy as
    sured; or                                        shown on the Declarations Page.


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We means the Company issuing this policy as       If a car is shown on the Declarations Page un-
shown on the Declarations Page.                   der “YOUR CAR”, and you ask us to replace it
You or Your means the named insured or            with a car newly owned by you, then the car
named insureds shown on the Declarations          being replaced will continue to be considered
Page. If a named insured shown on the Decla-      your car until the earliest of:
rations Page is a person, then “you” or “your”
includes the spouse of the first person shown     1. the end of the 30th calendar day immedi-
as a named insured if the spouse resides pri-        ately following the date the car newly
marily with that named insured.                      owned by you is delivered to you;
Your Car means the vehicle shown under            2. the date this policy is no longer in force; or
“YOUR CAR” on the Declarations Page. Your
Car does not include a vehicle that you no        3. the date you no longer own or lease the car
longer own or lease.                                 being replaced.




                                    LIABILITY COVERAGE
This policy provides Liability Coverage if “A” is 3. any other person for his or her use of:
shown under “SYMBOLS” on the Declarations            a. your car;
Page.
                                                     b. a newly acquired car;
Additional Definition
                                                     c. a temporary substitute car; or
Insured means:
                                                     d. a trailer while attached to a car de-
1. you and resident relatives for:                       scribed in a., b., or c. above.
    a. the ownership, maintenance, or use of:        Such vehicle must be used within the
        (1) your car;                                scope of your consent; and
        (2) a newly acquired car; or              4. any other person or organization vicari-
                                                     ously liable for the use of a vehicle by an
        (3) a trailer; and                           insured as defined in 1., 2., or 3. above,
    b. the maintenance or use of:                    but only for such vicarious liability. This
                                                     provision applies only if the vehicle is nei-
        (1) a non-owned car; or                      ther owned by, nor hired by, that other per-
        (2) a temporary substitute car;              son or organization.
2. the first person shown as a named insured Insured does not include the United States of
    on the Declarations Page and that named in- America or any of its agencies.
    sured’s spouse who resides primarily with
    that named insured for the maintenance or Insuring Agreement
    use of a car that is owned by, or furnished 1. We will pay:
    by an employer to, a person who resides
    primarily in your household, but only if         a. damages an insured becomes legally
    such car is neither owned by, nor furnished          liable to pay because of:
    by an employer to, the first person shown            (1) bodily injury to others; and
    as a named insured on the Declarations
    Page or that person’s spouse;                        (2) damage to property

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        caused by an accident that involves a        We have no duty to pay interest that ac-
        vehicle for which that insured is pro-       crues after we deposit in court, pay, or of-
        vided Liability Coverage by this pol-        fer to pay, the amount due under this
        icy;                                         policy’s Liability Coverage;
    b. attorney fees for attorneys chosen by      2. Premiums for bonds, provided by a com-
       us to defend an insured who is sued           pany chosen by us, required to appeal a
       for such damages; and                         decision in a lawsuit against an insured.
                                                     We have no duty to:
    c. court costs charged to an insured and
       resulting from that part of a lawsuit:        a. pay for bonds that exceed this policy’s
                                                          applicable Liability Coverage limit;
        (1) that seeks damages payable under
            this policy’s Liability Coverage;        b. furnish or apply for any bonds; or
            and                                      c. pay premiums for bonds purchased af-
        (2) against which we defend an in-                ter we deposit in court, pay, or offer to
            sured with attorneys chosen by us.            pay, the amount due under this policy’s
                                                          Liability Coverage; and
    We have no duty to pay attorney fees and
    court costs incurred after we deposit in      3. The following costs and expenses if related
    court or pay the amount due under this pol-      to and incurred after a lawsuit has been
    icy’s Liability Coverage.                        filed against an insured:
                                                     a. Loss of wages or salary, but not other
2. We have the right to:                                  income, up to $200 for each day an in-
    a. investigate, negotiate, and settle any             sured attends, at our request:
       claim or lawsuit;                                  (1) an arbitration;
    b. defend an insured in any claim or law-             (2) a mediation; or
       suit, with attorneys chosen by us; and
                                                          (3) a trial of a lawsuit; and
    c. appeal any award or legal decision
                                                      b. Reasonable expenses incurred by an
    for damages payable under this policy’s              insured at our request other than loss
    Liability Coverage.                                  of wages, salary, or other income.
Supplementary Payments                                The amount of any of the costs or expenses
We will pay, in addition to the damages, fees,        listed above that are incurred by an in-
and costs described in the Insuring Agree-            sured must be reported to us before we
ment above, the interest, premiums, costs, and        will pay such incurred costs or expenses.
expenses listed below that result from such       Limits
accident:
                                                  The Liability Coverage limits for bodily injury
1. Interest on damages owed by the insured        are shown on the Declarations Page under “Li-
   that accrues:                                  ability Coverage – Bodily Injury Limits – Each
   a. before a judgment, where owed by            Person, Each Accident.”
        law, but only on that part of the judg-   The limit shown under “Each Person” is the
        ment we pay; and                          most we will pay for all damages resulting
   b. after a judgment. We will not pay in-       from bodily injury to any one person injured in
        terest on damages paid or payable by a    any one accident, including all damages sus-
        party other than the insured or us.       tained by other persons as a result of that
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bodily injury. The limit shown under “Each              (2) IS A WARD OR FOSTER CHILD
Accident” is the most we will pay, subject to               OF THAT INSURED
the limit for “Each Person”, for all damages
resulting from bodily injury to two or more         IF THE INTRA-FAMILIAL TORT IM-
persons injured in the same accident.               MUNITY APPLIES.
The Liability Coverage limit for damage to          IF THE INTRA-FAMILIAL TORT IM-
property is shown on the Declarations Page          MUNITY DOES NOT APPLY, THIS EX-
under “Liability Coverage – Property Damage         CLUSION (2.) APPLIES ONLY TO THE
Limit – Each Accident”. The limit shown is          EXTENT THAT THE LIMITS OF LI-
the most we will pay for all damages resulting      ABILITY OF THIS COVERAGE EX-
from damage to property in any one accident.        CEED THE LIMITS OF LIABILITY
                                                    REQUIRED BY LAW.
These Liability Coverage limits are the most
we will pay regardless of the number of:         3. OR FOR THAT INSURED’S INSURER
1. insureds;                                        FOR ANY OBLIGATION UNDER ANY
                                                    TYPE OF WORKERS’ COMPENSA-
2. claims made;                                     TION, DISABILITY, OR SIMILAR LAW;
3. vehicles insured; or                          4. FOR BODILY INJURY TO THAT IN-
4. vehicles involved in the accident.               SURED’S EMPLOYEE WHICH ARISES
Nonduplication                                      OUT OF THAT EMPLOYEE’S EM-
                                                    PLOYMENT. This exclusion does not ap-
We will not pay any damages or expenses under       ply to that insured’s household employee
Liability Coverage that have already been paid      who is neither covered, nor required to be
under Uninsured Motor Vehicle Coverage of           covered, under workers’ compensation in-
any policy issued by the State Farm Compa-          surance;
nies to you or any resident relative.
                                                 5. FOR BODILY INJURY TO THAT IN-
Exclusions                                          SURED’S         FELLOW        EMPLOYEE
THERE IS NO COVERAGE FOR AN IN-                     WHILE THE FELLOW EMPLOYEE IS
SURED:                                              IN THE COURSE AND SCOPE OF HIS
1. WHO         INTENTIONALLY          CAUSES        OR HER EMPLOYMENT. This exclusion
    BODILY INJURY OR DAMAGE TO                      does not apply to you and resident rela-
    PROPERTY TO THE EXTENT THAT                     tives who are legally liable for bodily in-
    THE LIMITS OF LIABILITY OF THIS                 jury to fellow employees;
    COVERAGE EXCEED THE LIMITS OF
    LIABILITY REQUIRED BY LAW;                   6. FOR DAMAGES ARISING OUT OF
                                                    THE OWNERSHIP, MAINTENANCE,
2. FOR BODILY INJURY TO:                            OR USE OF A VEHICLE WHILE IT IS
    a. YOU;                                         RENTED TO OR LEASED TO OTHERS
                                                    BY AN INSURED;
    b. RESIDENT RELATIVES; AND
                                                 7. FOR DAMAGES ARISING OUT OF
    c. ANY OTHER PERSON WHO BOTH                    THE OWNERSHIP, MAINTENANCE,
         RESIDES PRIMARILY WITH AN                  OR USE OF A VEHICLE WHILE IT IS
         INSURED AND WHO:                           BEING USED TO CARRY PERSONS
         (1) IS RELATED TO THAT INSURED             FOR A CHARGE. This exclusion does not
             BY BLOOD, MARRIAGE, OR                 apply to the use of a private passenger car
             ADOPTION; OR                           on a share-the-expense basis;
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8. WHILE MAINTAINING OR USING A                      13. FOR ANY ORDER OF RESTITUTION
   VEHICLE IN CONNECTION WITH                            ISSUED BY A COURT IN A CRIMINAL
   THAT INSURED’S EMPLOYMENT IN                          PROCEEDING OR EQUITABLE AC-
   OR ENGAGEMENT OF ANY KIND IN A                        TION;
   CAR BUSINESS. This exclusion does not
   apply to:                                         14. WHILE USING A TRAILER WITH A
                                                         MOTOR VEHICLE IF THAT INSURED
    a. you;                                              IS NOT PROVIDED LIABILITY COV-
                                                         ERAGE BY THIS POLICY FOR THE
    b. any resident relative; or                         USE OF THAT MOTOR VEHICLE;
    c. any agent, employee, or business part-        15. FOR THE OWNERSHIP, MAINTE-
       ner of a. or b. above                             NANCE, OR USE OF ANY VEHICLE
    while maintaining or using your car, a newly         WHILE IT IS:
    acquired car, a temporary substitute car, or a       a. OFF PUBLIC ROADS AND BEING
    trailer owned by you;                                   PREPARED FOR, USED IN PRAC-
9. WHILE THAT INSURED IS VALET                              TICE FOR, OR OPERATED IN ANY
   PARKING A VEHICLE;                                       PREARRANGED RACING CONTEST,
                                                            SPEED CONTEST, HILL-CLIMBING
10. WHILE MAINTAINING OR USING ANY                          CONTEST, JUMPING CONTEST, OR
    VEHICLE OTHER THAN YOUR CAR, A                          ANY SIMILAR CONTEST; OR
    NEWLY ACQUIRED CAR, A TEMPO-
    RARY SUBSTITUTE CAR, OR A                            b. ON A TRACK DESIGNED PRIMAR-
    TRAILER IN ANY BUSINESS OR OC-                          ILY FOR RACING OR HIGH SPEED
    CUPATION OTHER THAN A CAR BUSI-                         DRIVING. This exclusion (15.b.) does
    NESS OR VALET PARKING.                 This             not apply if the vehicle is being used in
    exclusion does not apply to the maintenance             connection with an activity other than
    or use of a private passenger car;                      racing, high speed driving, or any type
                                                            of competitive driving; OR
11. FOR DAMAGE TO PROPERTY WHILE
    IT IS:                                           16. WHO IS AN EMPLOYEE OF THE
                                                         UNITED STATES OF AMERICA OR
    a. OWNED BY;                                         ANY OF ITS AGENCIES, IF THE PRO-
    b. RENTED TO;                                        VISIONS OF THE FEDERAL TORT
                                                         CLAIMS ACT APPLY.
    c. USED BY;
                                                     If Other Liability Coverage Applies
    d. IN THE CARE OF; OR
                                                     1. If Liability Coverage provided by this pol-
    e. TRANSPORTED BY                                   icy and one or more other Car Policies is-
    YOU, A RESIDENT RELATIVE, OR THE                    sued to you or any resident relative by the
    PERSON WHO IS LEGALLY LIABLE                        State Farm Companies apply to the same
    FOR THE DAMAGE. This exclusion does                 accident, then:
    not apply to either damage to a residence           a. the Liability Coverage limits of such
    while rented to or leased to an insured or              policies will not be added together to
    damage to a private garage while rented to or           determine the most that may be paid;
    leased to an insured;                                   and
12. FOR LIABILITY ASSUMED UNDER                         b. the maximum amount that may be paid
    ANY CONTRACT OR AGREEMENT;                              from all such policies combined is the

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        single highest applicable limit pro-                    State Farm Companies also ap-
        vided by any one of the policies. We                    plies as primary coverage for the
        may choose one or more policies from                    same accident,
        which to make payment.                             then the State Farm Companies will pay
2. The Liability Coverage provided by this                 the proportion of damages payable as
   policy applies as primary coverage for the              primary that the maximum amount that
   ownership, maintenance, or use of your                  may be paid by the State Farm Compa-
   car or a trailer attached to it.                        nies as determined in 1. above bears to
   The Liability Coverage also applies as                  the sum of such amount and the limits of
   primary coverage for the maintenance or                 all other liability coverage that apply as
   use of a non-owned car or a temporary                   primary coverage.
   substitute car that is owned by a person,        3. Except as provided in 2. above, the Liabil-
   firm, or corporation engaged in the busi-           ity Coverage provided by this policy ap-
   ness of selling at retail new or used motor         plies as excess coverage.
   vehicles. This applies only while the vehi-         a. If:
   cle is operated by you or a resident relative
   if such person is neither an owner nor an               (1) this is the only Car Policy issued
   employee of the owner of the car.                            to you or any resident relative by
                                                                the State Farm Companies that
   a. If:                                                       provides Liability Coverage which
        (1) this is the only Car Policy issued                  applies to the accident as excess
            to you or any resident relative by                  coverage; and
            the State Farm Companies that                  (2) liability coverage provided by one
            provides Liability Coverage which                   or more sources other than the
            applies to the accident as primary                  State Farm Companies also ap-
            coverage; and                                       plies as excess coverage for the
        (2) liability coverage provided by one                  same accident,
            or more sources other than the                 then we will pay the proportion of
            State Farm Companies also ap-                  damages payable as excess that our
            plies as primary coverage for the              applicable limit bears to the sum of
            same accident,                                 our applicable limit and the limits of
        then we will pay the proportion of                 all other liability coverage that apply
        damages payable as primary that our                as excess coverage.
        applicable limit bears to the sum of           b. If:
        our applicable limit and the limits of
        all other liability coverage that apply            (1) more than one Car Policy issued to
        as primary coverage.                                    you or any resident relative by the
                                                                State Farm Companies provides
   b. If:                                                       Liability Coverage which applies
        (1) more than one Car Policy issued to                  to the accident as excess coverage;
            you or any resident relative by the                 and
            State Farm Companies provides Li-              (2) liability coverage provided by one
            ability Coverage which applies to the               or more sources other than the
            accident as primary coverage; and                   State Farm Companies also ap-
        (2) liability coverage provided by one                  plies as excess coverage for the
            or more sources other than the                      same accident,
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         then the State Farm Companies will           2. this policy does not provide at least the
         pay the proportion of damages payable           minimum liability coverage required by
         as excess that the maximum amount               such law for such nonresident,
         that may be paid by the State Farm
         Companies as determined in 1. above          then this policy will be interpreted to provide
         bears to the sum of such amount and          the minimum liability coverage required by
         the limits of all other liability coverage   such law.
         that apply as excess coverage.
                                                      This provision does not apply to liability
Required Out-of-State Liability Coverage
                                                      coverage required by law for motor carriers
If:                                                   of passengers or motor carriers of property.
1. an insured is in another state of the
    United States of America, a territory or          Financial Responsibility Certification
    possession of the United States of Amer-          When this policy is certified under any law as
    ica, the District of Columbia, or any prov-       proof of future financial responsibility, and
    ince or territory of Canada, and as a             while required during the policy period, this
    nonresident becomes subject to its motor
    vehicle compulsory insurance law, finan-          policy will comply with such law to the extent
    cial responsibility law, or similar law; and      required.




                            MEDICAL PAYMENTS COVERAGE
This policy provides Medical Payments Cov-         a. your car;
erage if “C” is shown under “SYMBOLS” on
the Declarations Page.                             b. a newly acquired car;
Additional Definitions                             c. a temporary substitute car; or
Insured means:                                     d. a trailer while attached to a car de-
                                                       scribed in a., b., or c. above.
1. you and resident relatives:
                                                   Such vehicle must be used within the
    a. while occupying:                            scope of your consent.
        (1) your car;
                                               Medical Expenses mean reasonable expenses
        (2) a newly acquired car;              for medical services.
        (3) a temporary substitute car;        Medical Services mean treatments, procedures,
        (4) a non-owned car; or                products, and other services that are:
        (5) a trailer while attached to a car 1. necessary to achieve maximum medical
            described in (1), (2), (3), or (4)     improvement for the bodily injury;
            above; or
                                               2. rendered by a healthcare provider:
    b. if struck as a pedestrian by a motor
        vehicle or any type of trailer; and        a. who is licensed as a healthcare pro-
                                                       vider if a license is required by law;
2. any other person while occupying:                   and

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    b. within the legally authorized scope of          a. that insured is first provided medical
       that healthcare provider’s practice;                services within one year immediately
                                                           following the date of the accident; and
3. commonly and customarily recognized
   throughout the medical profession and               b. such medical expenses are for medical
   within the United States of America as ap-              services that are provided within three
   propriate for the treatment of the bodily in-           years immediately following the date
   jury;                                                   of the accident; and
4. primarily designed to serve a medical pur-      2. funeral expenses incurred for an insured
   pose;                                               who dies within three years immediately
                                                       following the date of a motor vehicle acci-
5. not experimental; and                               dent if the death is a direct result of bodily
6. not for research purposes.                          injury sustained in such accident.
Reasonable Expenses mean the lowest one of         Determining Medical Expenses
the following charges:                             We have the right to:
1. The usual and customary fees charged by a       1. obtain and use:
   majority of healthcare providers who pro-           a. utilization reviews;
   vide similar medical services in the geo-
   graphical area in which the charges were            b. peer reviews; and
   incurred;                                           c. medical bill reviews
2. The fee specified in any fee schedule:              to determine if the incurred charges are
    a. applicable to medical payments cover-           medical expenses;
       age, no-fault coverage, or personal in-     2. use a medical examination of the insured
       jury protection coverage included in            to determine if:
       motor vehicle liability policies issued         a. the bodily injury was caused by a mo-
       in the state where medical services are             tor vehicle accident; and
       provided; and
                                                       b. the expenses incurred are medical ex-
    b. as prescribed or authorized by the law              penses; and
       of the state where medical services are     3. enter into a contract with a third party that
       provided;                                       has an agreement with the insured’s
3. The fees agreed to by both the insured’s            healthcare provider to charge fees as de-
   healthcare provider and us; or                      termined by that agreement.
4. The fees agreed upon between the in-            Limit
   sured’s healthcare provider and a third         The Medical Payments Coverage limit is
   party when we have a contract with such         shown on the Declarations Page under “Medi-
   third party.                                    cal Payments Coverage – Limit – Each Per-
                                                   son”. This limit is the most we will pay for the
Insuring Agreement                                 medical expenses and funeral expenses com-
We will pay:                                       bined, incurred by or on behalf of any one in-
1. medical expenses incurred because of bod-       sured as a result of any one accident,
    ily injury that is sustained by an insured     regardless of the number of:
    and caused by a motor vehicle accident if:     1. insureds;

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2. claims made;                                     b. any resident relative
3. vehicles insured; or                             while maintaining or using your car, a newly
                                                    acquired car, a temporary substitute car, or a
4. vehicles involved in the accident.
                                                    trailer owned by you;
Subject to the limit shown on the Declarations
                                                 6. WHILE THAT INSURED IS VALET
Page, the most we will pay for funeral ex-
                                                    PARKING A VEHICLE;
penses incurred for any one insured is $3,000.
                                                 7. WHILE MAINTAINING OR USING A
Exclusions
                                                    NON-OWNED CAR IN ANY BUSINESS
THERE IS NO COVERAGE FOR AN IN-                     OR OCCUPATION OTHER THAN A
SURED:                                              CAR BUSINESS OR VALET PARKING.
                                                    This exclusion does not apply to the
1. WHO IS STRUCK AS A PEDESTRIAN
                                                    maintenance or use of a private passenger
   BY A MOTOR VEHICLE, OWNED BY
                                                    car;
   THAT INSURED OR YOU, IF IT IS NOT
   YOUR CAR OR A NEWLY ACQUIRED                  8. WHO IS EITHER OCCUPYING OR
   CAR;                                             STRUCK AS A PEDESTRIAN BY A
                                                    VEHICLE THAT IS LOCATED FOR USE
2. IF ANY WORKERS’ COMPENSATION
                                                    AS A DWELLING OR OTHER
   LAW OR ANY SIMILAR LAW APPLIES
                                                    PREMISES;
   TO THAT INSURED’S BODILY IN-
   JURY;                                         9. WHO IS STRUCK AS A PEDESTRIAN
                                                    BY A VEHICLE THAT:
3. WHO IS OCCUPYING A VEHICLE
   WHILE IT IS RENTED TO OR LEASED                  a. IS DESIGNED FOR USE PRIMAR-
   TO OTHERS BY AN INSURED;                            ILY OFF PUBLIC ROADS WHILE
                                                       OFF PUBLIC ROADS; OR
4. WHO IS OCCUPYING A VEHICLE
   WHILE IT IS BEING USED TO CARRY                  b. RUNS ON RAILS OR CRAWLER-
   PERSONS FOR A CHARGE. This exclu-                   TREADS;
   sion does not apply to:
                                                 10. WHOSE BODILY INJURY RESULTS
    a. the use of a private passenger car on a       FROM WAR OF ANY KIND;
       share-the-expense basis; or
                                                 11. WHOSE      BODILY INJURY RESULTS
    b. an insured while occupying a non-             FROM:
       owned car as a passenger;
                                                    a. NUCLEAR REACTION;
5. WHILE MAINTAINING OR USING A
   VEHICLE IN CONNECTION WITH                       b. RADIATION OR             RADIOACTIVE
   THAT INSURED’S EMPLOYMENT IN                        CONTAMINATION             FROM ANY
   OR ENGAGEMENT OF ANY KIND IN A                      SOURCE; OR
   CAR BUSINESS. This exclusion does not            c. THE ACCIDENTAL OR INTEN-
   apply to:                                           TIONAL DETONATION OF, OR
    a. you; or                                         RELEASE OF RADIATION FROM,



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       ANY NUCLEAR OR RADIOAC-                    3. The Medical Payments Coverage provided
       TIVE DEVICE;                                  by this policy applies as primary coverage
                                                     for an insured who sustains bodily injury
12. WHOSE BODILY INJURY RESULTS                      while occupying your car or a trailer at-
    FROM THE DISCHARGE OF A FIRE-                    tached to it.
    ARM; OR
                                                     The Medical Payments Coverage also ap-
13. WHO IS OCCUPYING A VEHICLE                       plies as primary coverage for an insured
    WHILE IT IS:                                     who sustains bodily injury while occupy-
   a. BEING PREPARED FOR, USED IN                    ing a non-owned car or a temporary sub-
      PRACTICE FOR, OR OPERATED IN                   stitute car that is owned by a person, firm,
      ANY PREARRANGED RACING                         or corporation engaged in the business of
      CONTEST, SPEED CONTEST, HILL-                  selling at retail new or used motor vehi-
      CLIMBING CONTEST, JUMPING                      cles. This applies only while the vehicle is
      CONTEST, OR ANY SIMILAR CON-                   operated by you or a resident relative if
      TEST; OR                                       such person is neither an owner nor an
                                                     employee of the owner of the car.
   b. ON A TRACK DESIGNED PRIMAR-
      ILY FOR RACING OR HIGH SPEED                   a. If:
      DRIVING. This exclusion (14.b.) does                (1) this is the only vehicle policy is-
      not apply if the vehicle is being used in               sued to you or any resident rela-
      connection with an activity other than                  tive by the State Farm Companies
      racing, high speed driving, or any type                 that provides Medical Payments
      of competitive driving.                                 Coverage or other similar vehicle
                                                              insurance which applies to the ac-
If Other Medical Payments Coverage or                         cident as primary coverage; and
Similar Vehicle Insurance Applies
                                                          (2) medical payments coverage or other
1. An insured shall not recover for the same                  similar vehicle insurance provided
   medical expenses or funeral expenses un-                   by one or more sources other than
   der both this coverage and other medical                   the State Farm Companies also ap-
   payments coverage or similar vehicle in-                   plies as primary coverage for the
   surance.                                                   same accident,
2. If Medical Payments Coverage provided                  then we will pay the proportion of medi-
   by this policy and one or more other vehi-             cal expenses and funeral expenses pay-
   cle policies issued to you or any resident             able as primary that our applicable limit
   relative by the State Farm Companies ap-               bears to the sum of our applicable limit
   ply to the same bodily injury, then:                   and the limits of all other medical pay-
   a. the Medical Payments Coverage limits                ments coverage or similar vehicle insur-
      of such policies shall not be added to-             ance that apply as primary coverage.
      gether to determine the most that may          b. If:
      be paid; and
                                                          (1) more than one vehicle policy issued
   b. the maximum amount that may be paid                     to you or any resident relative by
      from all such policies combined is the                  the State Farm Companies provides
      single highest applicable limit provided                Medical Payments Coverage or
      by any one of the policies. We may                      other similar vehicle insurance
      choose one or more policies from which                  which applies to the accident as
      to make payment.                                        primary coverage; and
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       (2) medical payments coverage or other            vehicle insurance that apply as excess
           similar vehicle insurance provided            coverage.
           by one or more sources other than         b. If:
           the State Farm Companies also ap-
           plies as primary coverage for the             (1) more than one vehicle policy is-
           same accident,                                     sued to you or any resident rela-
                                                              tive by the State Farm Companies
       then the State Farm Companies will                     provides Medical Payments Cov-
       pay the proportion of medical ex-                      erage or other similar vehicle in-
       penses and funeral expenses payable as                 surance which applies to the
       primary that the maximum amount that                   accident as excess coverage; and
       may be paid by the State Farm Com-                (2) medical payments coverage or
       panies as determined in 2. above bears                 other similar vehicle insurance
       to the sum of such amount and the lim-                 provided by one or more sources
       its of all other medical payments cov-                 other than the State Farm Compa-
       erage or similar vehicle insurance that                nies also applies as excess cover-
       apply as primary coverage.                             age for the same accident,
4. Except as provided in 3. above, the Medi-             then the State Farm Companies will
   cal Payments Coverage provided by this                pay the proportion of medical ex-
   policy applies as excess coverage.                    penses and funeral expenses payable as
                                                         excess that the maximum amount that
   a. If:                                                may be paid by the State Farm Com-
       (1) this is the only vehicle policy is-           panies as determined in 2. above bears
           sued to you or any resident rela-             to the sum of such amount and the lim-
           tive by the State Farm Companies              its of all other medical payments cov-
           that provides Medical Payments                erage or similar vehicle insurance that
           Coverage or other similar vehicle             apply as excess coverage.
           insurance which applies to the ac-    Our Payment Options
           cident as excess coverage; and
                                                 We may, at our option, make payment to one
       (2) medical payments coverage or          or more of the following:
           other similar vehicle insurance
           provided by one or more sources       1. The insured;
           other than the State Farm Compa-      2. The insured’s surviving spouse;
           nies also applies as excess cover-
           age for the same accident,            3. A parent or guardian of the insured, if the
                                                     insured is a minor or an incompetent per-
       then we will pay the proportion of            son;
       medical expenses and funeral expenses
       payable as excess that our applicable     4. A person authorized by law to receive such
       limit bears to the sum of our applica-        payment; or
       ble limit and the limits of all other     5. Any person or organization that provides
       medical payments coverage or similar          the medical services or funeral services.




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                         UNINSURED MOTOR VEHICLE COVERAGE
This policy provides:                              4. while located for use as a dwelling or other
1. Uninsured Motor Vehicle Coverage (Ex-               premises.
     cess) if “UE”;                                If there is no physical contact between such
2. Uninsured Motor Vehicle Coverage (Dif- land motor vehicle and the insured or the vehi-
     ference-In-Limits) if “U”                     cle the insured is occupying, then the facts of
                                                   the accident must be corroborated by an eye-
is shown under “SYMBOLS” on the Declara- witness to the occurrence other than the in-
tions Page.                                        sured making the claim.
Additional Definitions                             Insuring Agreement
Insured means:                                     We will pay compensatory damages for bodily
1. you;                                            injury and property damage an insured is le-
                                                   gally entitled to recover from the owner or
2. resident relatives;                             driver of an uninsured motor vehicle.
3. any other person while occupying:
                                                   The bodily injury and property damage must
     a. your car;                                  be caused by an accident that involves the op-
     b. a newly acquired car; or                   eration, maintenance, or use of an uninsured
     c. a temporary substitute car.                motor vehicle as a motor vehicle. The bodily
                                                   injury must be sustained by an insured. Prop-
     Such vehicle must be used within the erty damage is payable only in the amount that
     scope of your consent. Such other person exceeds the deductible.
     occupying a vehicle used to carry persons
     for a charge is not an insured; and           Consent to Be Bound
4. any person entitled to recover compensa- 1. We are not bound by any:
     tory damages as a result of bodily injury to
     an insured as defined in 1., 2., or 3. above.     a. judgment obtained without our written
                                                            consent; and
Property Damage means damage to:
                                                       b. default judgment against any person or
1. your car or a newly acquired car; or
                                                            organization other than us.
2. property owned by an insured while in
     your car or a newly acquired car.             2. Regardless of the amount of any award,
                                                       including any judgment or default judg-
It includes payments made for substitute trans-        ment, we are not obligated to pay any
portation while your car or a newly acquired           amount in excess of the available limits
car is disabled.                                       under this coverage of this policy.
Uninsured Motor Vehicle means a land motor Limits
vehicle except for one:
                                                   1. Uninsured Motor Vehicle Coverage (Ex-
1. whose ownership, maintenance, or use is             cess)
     provided Liability Coverage by this policy;
                                                       a. The Uninsured Motor Vehicle Cover-
2. owned by or furnished for the regular use                age limits are shown on the Declara-
     of you or any resident relative;                       tions Page under “Uninsured Motor
3. designed for use primarily off public roads              Vehicle Coverage – Bodily Injury
     except while on public roads; or                       Limits – Each Person, Each Accident”.
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   (1) The most we will pay for all dam-              (4) vehicles involved in the accident.
       ages resulting from bodily injury       2. Uninsured Motor Vehicle Coverage (Dif-
       to any one insured injured in any          ference-In-Limits)
       one accident, including all dam-
       ages sustained by other insureds           a. The Uninsured Motor Vehicle Cover-
       as a result of that bodily injury, is          age limits are shown on the Declara-
       the lesser of:                                 tions Page under “Uninsured Motor
       (a) the difference between the                 Vehicle Coverage – Bodily Injury
            amount of the insured’s bodily            Limits – Each Person, Each Accident”.
            injury damages and the sum of             (1) The most we will pay for all dam-
            all applicable insurance and                  ages resulting from bodily injury
            self-insurance for bodily in-                 to any one insured injured in any
            jury liability; and                           one accident, including all dam-
       (b) the limit shown under “Each                    ages sustained by other insureds
            Person”.                                      as a result of that bodily injury, is
                                                          the lesser of:
   (2) Subject to (1) above, the most we
       will pay for all damages resulting                 (a) the difference between the
       from bodily injury to two or more                       sum of all applicable unin-
       insureds injured in the same acci-                      sured motor vehicle coverage
       dent is the limit shown under                           limits for bodily injury and the
       “Each Accident”.                                        sum of all applicable insurance
                                                               and self-insurance for bodily
b. The Uninsured Motor Vehicle Cover-                          injury liability;
   age limit for property damage is
   shown on the Declarations Page under                   (b) the difference between the
   “Uninsured Motor Vehicle Coverage –                         amount of the insured’s bodily
   Property Damage Limit – Each Acci-                          injury damages and the sum of
   dent”. The most we will pay for all                         all applicable insurance and
   property damage resulting from any                          self-insurance for bodily in-
   one accident is the lesser of:                              jury liability; and
   (1) the difference between the amount                  (c) the limit shown under “Each
       of property damage reduced by:                          Person”.
       (a) the deductible amount shown                (2) Subject to (1) above, the most we
            on the Declarations Page; and                 will pay for all damages resulting
       (b) the sum of all applicable in-                  from bodily injury to two or more
            surance and self-insurance for                insureds injured in the same acci-
            property damage liability; and                dent is the limit shown under
                                                          “Each Accident”.
   (2) the limit for property damage.
                                                  b. The Uninsured Motor Vehicle Cover-
c. These Uninsured Motor Vehicle Cov-                 age limit for property damage is
   erage limits are the most we will pay              shown on the Declarations Page under
   regardless of the number of:                       “Uninsured Motor Vehicle Coverage –
   (1) insureds;                                      Property Damage Limit – Each Acci-
   (2) claims made;                                   dent”. The most we will pay for all
                                                      property damage resulting from any
   (3) vehicles insured; or                           one accident is the lesser of:

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        (1) the difference between the sum of           any other policy, or other similar vehicle
            all applicable uninsured motor ve-          insurance.
            hicle coverage limits for property      4. that are property damage paid or payable
            damage and the sum of all appli-            under any policy of property insurance.
            cable insurance and self-insurance
            for property damage liability;          Exclusions
        (2) the difference between the amount       THERE IS NO COVERAGE:
            of property damage reduced by:          1. FOR AN INSURED WHO, WITHOUT
            (a) the deductible amount shown             OUR WRITTEN CONSENT, SETTLES
                 on the Declarations Page; and          WITH ANY PERSON OR ORGANIZA-
                                                        TION WHO MAY BE LIABLE FOR THE
            (b) the sum of all applicable in-           BODILY INJURY OR PROPERTY
                 surance and self-insurance for         DAMAGE. However, an insured may,
                 property damage liability; and         without our consent, settle for the avail-
        (3) the limit for property damage.              able liability limits of an insurance policy
    c. These Uninsured Motor Vehicle Cov-               providing coverage to the party who may
        erage limits are the most we will pay           be liable for the bodily injury or property
        regardless of the number of:                    damage.
        (1) insureds;                               2. FOR AN INSURED WHOSE BODILY
                                                        INJURY RESULTS FROM THE DIS-
        (2) claims made;                                CHARGE OF A FIREARM;
        (3) vehicles insured; or                    3. TO THE EXTENT IT BENEFITS ANY
        (4) vehicles involved in the accident.          PROPERTY INSURER;
Nonduplication                                      4. FOR PUNITIVE OR EXEMPLARY
                                                        DAMAGES; OR
We will not pay under Uninsured Motor Vehi-
cle Coverage any damages:                           5. FOR ANY ORDER OF RESTITUTION
                                                        ISSUED BY A COURT IN A CRIMINAL
1. that have already been paid to or for the            PROCEEDING OR EQUITABLE AC-
    insured:                                            TION.
    a. by or on behalf of any person or or-         If Other Uninsured Motor Vehicle Coverage
        ganization who is or may be held le-        Applies
        gally liable for the bodily injury to the
        insured; or                                 1. If uninsured motor vehicle coverage pro-
                                                       vided by this policy and one or more other
   b. for bodily injury under Liability Cov-           policies apply to the same bodily injury,
       erage of any policy issued by the State         then the priority of coverage established by
       Farm Companies to you or any resi-              Georgia law applies. Coverage applies in
       dent relative;                                  the following order of priority.
2. that are paid or payable to or for the in-          a. The policy which provides coverage to
   sured under any workers’ compensation                   the insured as a named insured. If the
   law; or                                                 insured is a named insured on more
3. that have already been paid as expenses                 than one policy, then the policy appli-
   under Medical Payments Coverage of this                 cable to the vehicle occupied by the
   policy, the medical payments coverage of                insured has higher priority.

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   b. The policy which provides coverage to            to the total of all uninsured motor vehicle
        the insured as a relative of the named         coverage that applies on the same level of
        insured. If the insured is provided            priority.
        coverage as a relative on more than         Our Payment Options
        one policy, then the policy applicable
        to the vehicle occupied by the insured      We may, at our option, make payment to one
        has higher priority.                        or more of the following:
   c. The policy applicable to the vehicle          1. The insured;
        occupied by the insured if the insured
        is not provided coverage as a named         2. The insured’s surviving spouse;
        insured or a relative on another policy.
                                                    3. A parent or guardian of the insured, if the
2. If uninsured motor vehicle coverage is              insured is a minor or an incompetent per-
   provided by this policy and one or more             son; or
   other sources on the same level of priority,
   then we will pay the proportion of damages       4. A person authorized by law to receive such
   that the applicable limit of this policy bears      payment.




                             PHYSICAL DAMAGE COVERAGES
The physical damage coverages are Compre- 3. a temporary substitute car;
hensive Coverage, Collision Coverage, Emer- 4. a camper that is designed to be mounted on a
gency Road Service Coverage, and Car Rental        pickup truck and shown on the Declarations
and Travel Expenses Coverage.                      Page;
This policy provides:                          5. a non-owned car while it is:
1. Comprehensive Coverage if “D”;                  a. being driven by an insured; or
2. Collision Coverage if “G”;                      b. in the custody of an insured if at the
3. Emergency Road Service Coverage if “H”;              time of the loss it is:
4. Car Rental and Travel Expenses Coverage if           (1) not being driven; or
     “R1”                                               (2) being driven by a person other
is shown under “SYMBOLS” on the Declarations                 than an insured and being occu-
Page.                                                        pied by an insured;
If a deductible applies to Comprehensive Cov- 6. a non-owned trailer while it is being used
erage, then it is shown on the Declarations        by an insured; and
Page. The deductible that applies to Collision 7. a non-owned camper while it is being used
Coverage is shown on the Declarations Page.        by an insured;
Additional Definitions                         including its parts and its equipment that are
Covered Vehicle means:                         common to the use of the vehicle as a vehicle.
1. your car;                                   However, parts and equipment of trailers and
                                               campers must be securely fixed as a permanent
2. a newly acquired car;                       part of the trailer or camper.
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Daily Rental Charge means the sum of:                    b. any other person who resides primar-
1. the daily rental rate;                                    ily in your household; or
2. mileage charges; and                                  c. an employer of any person described
                                                             in a. or b. above; nor
3. related taxes.
                                                     2. has been used by, rented by, or in the pos-
Insured means you and resident relatives.                session of an insured during any part of
Loss means:                                              each of the 31 or more consecutive days
                                                         immediately prior to the date of the loss.
1. direct, sudden, and accidental damage to; or
                                                     Insuring Agreements
2. total or partial theft of
                                                     1. Comprehensive Coverage
a covered vehicle.
                                                         We will pay:
Loss Caused By Collision means a loss caused
by:                                                      a. for loss, except loss caused by colli-
                                                             sion, to a covered vehicle; and
1. a covered vehicle hitting or being hit by
                                                         b. transportation expenses incurred by an
   another vehicle or another object; or                     insured as a result of the total theft of
2. the overturning of a covered vehicle.                     your car or a newly acquired car.
                                                             These transportation expenses are pay-
Any loss caused by missiles, falling objects,                able:
windstorm, hail, fire, explosion, earthquake,
water, flood, total or partial theft, malicious              (1) during the period that:
mischief, vandalism, riot, civil commotion, or                   (a) starts on the date you report
hitting or being hit by a bird or an animal is not                   the theft to us; and
a Loss Caused By Collision.
                                                                 (b) ends on the earliest of:
Non-Owned Camper means a camper designed to
be mounted on a pickup truck that is in the lawful                   (i) the date the vehicle is re-
possession of an insured and that neither:                               turned to your possession
                                                                         in a drivable condition;
1. is owned by:
                                                                     (ii) the date we offer to pay for
     a. an insured;                                                       the loss if the vehicle has
     b. any other person who resides primar-                              not yet been recovered; or
         ily in your household; or                                   (iii) the date we offer to pay for
     c. an employer of any person described                                the loss if the vehicle is
         in a. or b. above; nor                                            recovered, but is a total
                                                                           loss as determined by us;
2. has been used by, rented by, or in the pos-                             and
     session of an insured during any part of
     each of the 31 or more consecutive days                 (2) during the period that:
     immediately prior to the date of the loss.                  (a) starts on the date the vehicle is
Non-Owned Trailer means a trailer that is in                         left at a repair facility if the
the lawful possession of an insured and that                         stolen vehicle is recovered, re-
neither:                                                             turned to your possession in a
                                                                     drivable condition, and has un-
1. is owned by:                                                      repaired damage that resulted
     a. an insured;                                                  from the total theft; and
                                                  20
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           (b) ends on the date the vehicle is            We will pay this daily rental charge
               repaired.                                  incurred during a period that:
       These transportation expenses must be              (1) starts on the date:
       reported to us before we will pay such                  (a) the vehicle is not drivable as a
       incurred expenses.                                          result of the loss; or
2. Collision Coverage                                          (b) the vehicle is left at a repair
   We will pay for loss caused by collision to                     facility if the vehicle is driv-
   a covered vehicle.                                              able; and
3. Emergency Road Service Coverage                        (2) ends on the earliest of:
   We will pay the fair cost incurred by an in-                (a) the date the vehicle has been
   sured for:                                                      repaired or replaced;
                                                               (b) the date we offer to pay for the
   a. up to one hour of labor to repair a cov-                     loss if the vehicle is repairable
      ered vehicle at the place of its break-                      but you choose to delay repairs;
      down;                                                        or
   b. towing to the nearest repair facility                    (c) five days after we offer to pay
      where necessary repairs can be made if                       for the loss if the vehicle is:
      a covered vehicle is not drivable;
                                                                   (i) a total loss as determined
   c. towing a covered vehicle out of a location                        by us; or
      where it is stuck if the vehicle is on or                    (ii) stolen and not recovered.
      immediately next to a public road;
                                                          The amount of any such daily rental
   d. delivery of gas, oil, battery, or tire nec-         charge incurred by you must be re-
      essary to return a covered vehicle to               ported to us before we will pay such
      driving condition. We do not pay the                amount.
      cost of the gas, oil, battery, or tire; and
                                                       b. Travel Expenses
   e. up to one hour of labor for locksmith               We will pay expenses for commercial
      services to unlock a covered vehicle if             transportation, lodging, and meals if your
      its key is lost, stolen, or locked inside           car or a newly acquired car is not driv-
      the vehicle.                                        able as a result of a loss which would be
4. Car Rental and Travel Expenses Coverage                payable under Comprehensive Coverage
                                                          or Collision Coverage. The loss must oc-
   a. Car Rental Expense                                  cur more than 50 miles from your home.
       We will pay the daily rental charge in-            We will only pay these expenses if they
       curred when you rent a car from a car              are incurred by:
       business while your car or a newly                 (1) an insured during the period that:
       acquired car is:
                                                               (a) starts after the loss occurs; and
       (1) not drivable; or
                                                               (b) ends on the earlier of:
       (2) being repaired
                                                                   (i) the insured’s arrival at his
       as a result of a loss which would be                             or her destination or home
       payable under Comprehensive Cover-                               if the vehicle is left behind
       age or Collision Coverage.                                       for repairs; or
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                   (ii) the repair of the vehicle if    2. store the covered vehicle, if it is not driv-
                        the insured waits for re-          able immediately after the loss, at:
                        pairs before continuing on
                        to his or her destination or        a. any one repair facility or commercial
                        returning home; and                    storage facility, neither of which was
                                                               chosen by an insured or the owner of
          (2) you, or any person you choose, to                the covered vehicle; and
               travel to retrieve the vehicle and
               drive it to either the original desti-       b. any one repair facility chosen by the
               nation or your home if the vehicle              owner of the covered vehicle, and we
               was left behind for repairs.                    determine such vehicle is a total loss.
          These expenses must be reported to us             If the owner of the covered vehicle consents,
          before we will pay such incurred ex-              then we may move the covered vehicle at our
          penses.                                           expense to reduce storage costs. If the owner
                                                            of the covered vehicle does not consent, then
     c. Rental Car – Repayment of                           we will pay only the storage costs that would
          Deductible Expense                                have resulted if we had moved the damaged
          We will pay the comprehensive de-                 covered vehicle; and
          ductible or collision deductible an in-       3. clean up debris from the covered vehicle at
          sured is required to pay the owner of a          the location of the loss. The most we will
          car rented from a car business.                  pay to clean up the debris is $250 for any
Supplementary Payments – Comprehensive                     one loss.
Coverage and Collision Coverage                         Limits and Loss Settlement – Comprehen-
If the covered vehicle sustains loss for which          sive Coverage and Collision Coverage
we make a payment under Comprehensive
Coverage or Collision Coverage, then we will            1. We have the right to choose to settle with
pay reasonable expenses incurred to:                       you or the owner of the covered vehicle in
                                                           one of the following ways:
1. tow the covered vehicle immediately after the
     loss:                                                  a. Pay the cost to repair the covered vehi-
     a. for a reasonable distance from the loca-               cle minus any applicable deductible.
          tion of the loss to any one repair facility           (1) We have the right to choose one of
          chosen by an insured or the owner of the                  the following to determine the cost
          covered vehicle, if the covered vehicle is                to repair the covered vehicle:
          not drivable; or
                                                                    (a) The cost agreed to by both the
     b. to any one repair facility or commercial                        owner of the covered vehicle and
          storage facility, neither of which was                        us;
          chosen by an insured or the owner of
          the covered vehicle. We will also pay                     (b) A bid or repair estimate ap-
          reasonable expenses incurred to tow the                       proved by us; or
          covered vehicle for a reasonable dis-
          tance from this facility to any one repair                (c) A repair estimate that is writ-
          facility chosen by an insured or the                          ten based upon or adjusted to:
          owner of the covered vehicle, if the                          (i) the prevailing competitive
          covered vehicle is not drivable;                                  price;


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        (ii) the lower of paintless dent       b. Pay the actual cash value of the cov-
             repair pricing established           ered vehicle minus any applicable de-
             by an agreement we have              ductible.
             with a third party or the            (1) The owner of the covered vehicle
             paintless dent repair price              and we must agree upon the actual
             that is competitive in the               cash value of the covered vehicle.
             market; or                               If there is disagreement as to the
        (iii) a combination of (i) and                actual cash value of the covered
              (ii) above.                             vehicle, then the disagreement will
                                                      be resolved by appraisal upon
        The prevailing competitive                    written request of the owner or us,
        price means prices charged by                 using the following procedures:
        a majority of the repair market
        in the area where the covered                 (a) The owner and we will each
        vehicle is to be repaired as de-                   select a competent appraiser.
        termined by a survey made by                  (b) The two appraisers will select
        us. If asked, we will identify                     a third competent appraiser. If
        some facilities that will per-                     they are unable to agree on a
        form the repairs at the prevail-                   third appraiser within 30 days,
        ing competitive price. The                         then either the owner or we
        estimate will include parts suf-                   may petition a court that has
        ficient to restore the covered                     jurisdiction to select the third
        vehicle to its pre-loss condi-                     appraiser.
        tion.
                                                      (c) Each party will pay the cost of
    You agree with us that the repair                      its own appraiser, attorneys,
    estimate may include new, used,                        and expert witnesses, as well
    recycled, and reconditioned parts.                     as any other expenses incurred
    Any of these parts may be either                       by that party. Both parties will
    original equipment manufacturer                        share equally the cost of the
    parts or non-original equipment                        third appraiser.
    manufacturer parts.
                                                      (d) The appraisers shall only deter-
    You also agree that replacement                        mine the actual cash value of the
    glass need not have any insignia,                      covered vehicle. Appraisers shall
    logo, trademark, etching, or other                     have no authority to decide any
    marking that was on the replaced                       other questions of fact, decide
    glass.                                                 any questions of law, or conduct
                                                           appraisal on a class-wide or
(2) If the repair or replacement of a                      class-representative basis.
    part results in betterment of that                (e) A written appraisal that is both
    part, then you or the owner of the                     agreed upon by and signed by
    covered vehicle must pay for the                       any two appraisers, and that
    amount of the betterment.                              also contains an explanation of
                                                           how they arrived at their ap-
(3) If you and we agree, then windshield                   praisal, will be binding on the
    glass will be repaired instead of re-                  owner of the covered vehicle
    placed;                                                and us.
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           (f) We do not waive any of our         2. Travel Expenses
                rights by submitting to an ap-       The most we will pay for Travel Expenses
                praisal.                             incurred by all insureds as a result of any
       (2) The damaged covered vehicle               one loss is $500.
           must be given to us in exchange        3. Rental Car – Repayment of Deductible
           for our payment, unless we agree          Expense
           that the owner may keep it. If the
           owner keeps the covered vehicle,          The most we will pay for Rental Car – Re-
           then our payment will be reduced          payment of Deductible Expense incurred
           by the value of the covered vehicle       as a result of any one loss is $500.
           after the loss; or                     Nonduplication
   c. Return the stolen covered vehicle to its    We will not pay for any loss or expense under
       owner and pay, as described in 1.a.        the Physical Damage Coverages for which the
       above, for any direct, sudden, and ac-     insured or owner of the covered vehicle has
       cidental damage that resulted from the     already received payment from, or on behalf of,
       theft.                                     a party who is legally liable for the loss or ex-
2. The most we will pay for transportation ex-    pense.
   penses under Comprehensive Coverage is
   $25 per day subject to an aggregate limit of   Exclusions
   $750 per loss.                                 THERE IS NO COVERAGE FOR:
3. The most we will pay for loss to a non-        1. ANY COVERED VEHICLE THAT IS:
   owned trailer or a non-owned camper is            a. INTENTIONALLY DAMAGED; OR
   $2,500.
                                                     b. STOLEN
Limits – Car Rental and Travel Expenses
Coverage                                             BY OR AT THE DIRECTION OF AN IN-
                                                     SURED;
1. Car Rental Expense
                                                  2. ANY COVERED VEHICLE WHILE IT
   The limit for Car Rental Expense is shown on      IS RENTED TO OR LEASED TO OTH-
   the Declarations Page under “Limit – Car          ERS BY AN INSURED;
   Rental Expense – Each Day, Each Loss”.
                                                  3. ANY COVERED VEHICLE WHILE IT
   a. The limit shown under “Each Day” is            IS USED TO CARRY PERSONS FOR A
       the most we will pay for the daily            CHARGE. This exclusion does not apply
       rental charge. If:                            to the use of a private passenger car on a
       (1) a dollar amount is shown, then we         share-the-expense basis;
           will pay the daily rental charge up    4. ANY COVERED VEHICLE DUE TO:
           to that dollar amount;
                                                     a. THEFT;
       (2) a percentage amount is shown,
           then we will pay that percentage of       b. CONVERSION;
           the daily rental charge.                  c. EMBEZZLEMENT; OR
   b. Subject to the “Each Day” limit, the           d. SECRETION
       limit shown under “Each Loss” is
       the most we will pay for Car Rental           BY AN INSURED, A CONSIGNEE, AN
       Expense incurred as a result of any one       AGENT OF A CONSIGNEE, OR A PER-
       loss.                                         SON WHO OBTAINS POSSESSION OF
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  THE COVERED VEHICLE WITH THE           NOT SHOWN ON THE DECLARA-
  PERMISSION OF A CONSIGNEE OR           TIONS PAGE;
  AGENT OF A CONSIGNEE;              11. ANY NON-OWNED CAR WHILE IT IS:
5. LOSS TO YOUR CAR OR A NEWLY           a. BEING MAINTAINED OR USED BY
   ACQUIRED CAR IF AN INSURED                ANY PERSON WHILE THAT PER-
   VOLUNTARILY RELINQUISHES POS-             SON IS EMPLOYED IN OR EN-
   SESSION OF THAT CAR TO A PERSON           GAGED IN ANY WAY IN A CAR
   OR ORGANIZATION UNDER AN AC-              BUSINESS; OR
   TUAL    OR   PRESUMED     SALES
   AGREEMENT;                            b. USED IN ANY BUSINESS OR OC-
                                             CUPATION OTHER THAN A CAR
6. ANY COVERED VEHICLE TO THE                BUSINESS. This exclusion (11.b.)
   EXTENT OUR PAYMENT WOULD                  does not apply to a private passenger
   BENEFIT ANY CARRIER OR OTHER              car;
   BAILEE FOR HIRE THAT IS LIABLE
   FOR LOSS TO SUCH COVERED VE-      12. ANY PART OR EQUIPMENT OF A
   HICLE;                                COVERED VEHICLE IF THAT PART OR
                                         EQUIPMENT:
7. LOSS TO ANY COVERED VEHICLE
   THAT RESULTS FROM:                    a. FAILS OR IS DEFECTIVE; OR
  a. NUCLEAR REACTION;                   b. IS DAMAGED AS A DIRECT RESULT
                                             OF:
  b. RADIATION OR     RADIOACTIVE            (1) WEAR AND TEAR;
     CONTAMINATION    FROM ANY
     SOURCE; OR                              (2) FREEZING; OR
  c. THE ACCIDENTAL OR INTEN-                (3) MECHANICAL, ELECTRICAL,
     TIONAL DETONATION OF, OR                     OR ELECTRONIC BREAK-
     RELEASE OF RADIATION FROM,                   DOWN OR MALFUNCTION
     ANY NUCLEAR OR RADIOAC-                 OF THAT PART OR EQUIPMENT.
     TIVE DEVICE;
                                         This exclusion does not apply if the loss is
8. LOSS TO ANY COVERED VEHICLE           the result of theft of the covered vehicle;
   THAT RESULTS FROM THE LEGAL       13. ANY PART OR EQUIPMENT:
   TAKING OF OR SEIZURE OF THAT
   COVERED VEHICLE BY ANY GOV-           a. THAT IS NOT LEGAL FOR USE IN
   ERNMENTAL AUTHORITY;                     OR ON THE COVERED VEHICLE
                                            IN THE JURISDICTION WHERE
9. LOSS TO ANY COVERED VEHICLE              THE COVERED VEHICLE IS REG-
   THAT RESULTS FROM WAR OF ANY
   KIND;                                    ISTERED; OR

10. YOUR CAR WHILE SUBJECT TO ANY:       b. THE USE OF WHICH IS NOT LE-
                                            GAL IN THE JURISDICTION
    a. LIEN AGREEMENT;                      WHERE THE COVERED VEHI-
    b. RENTAL AGREEMENT;                    CLE IS REGISTERED BECAUSE
    c. LEASE AGREEMENT; OR                  OF HOW OR WHERE THAT PART
                                            OR EQUIPMENT IS INSTALLED IN
    d. SALES AGREEMENT                      OR ON THE COVERED VEHICLE.

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   However, if there is a legal version of the         a. BEING PREPARED FOR, USED IN
   part or equipment that is necessary for the            PRACTICE FOR, OR OPERATED IN
   safe operation of the covered vehicle, then            ANY RACING CONTEST, SPEED
   we will pay the cost that we would other-              CONTEST, HILL-CLIMBING CON-
   wise have paid to repair the vehicle with              TEST, JUMPING CONTEST, OR
   the legal version of the part or equipment.            ANY SIMILAR CONTEST; OR
   We will not pay any cost necessary to mod-          b. ON A TRACK DESIGNED PRIMAR-
   ify the vehicle for installation of the legal          ILY FOR RACING OR HIGH SPEED
   version of the part or equipment;                      DRIVING. This exclusion (18.b.) does
14. TIRES. This exclusion does not apply if:              not apply if the vehicle is being used in
   a. loss is caused by missiles, falling ob-             connection with an activity other than
      jects, windstorm, hail, fire, explosion,            racing, high speed driving, or any type
      earthquake, water, flood, total or par-             of competitive driving.
      tial theft, malicious mischief, vandal-      If Other Physical Damage Coverage or
      ism, riot, civil commotion, or hitting or    Similar Coverage Applies
      being hit by a bird or an animal; or
                                                   1. If the same loss or expense is payable under
   b. loss caused by collision to another part        more than one of the physical damage cov-
      of the covered vehicle causes loss to           erages provided by this policy, then only the
      tires;                                          one coverage that pays the most for that loss
15. REMOVABLE PRODUCTS USED FOR                       or expense applies.
    STORAGE OF AUDIO, VIDEO, OR                    2. If any of the physical damage coverages
    OTHER DATA, INCLUDING BUT NOT                     provided by this policy and one or more
    LIMITED TO TAPES, DISCS, AND                      other policies issued to an insured by the
    MEMORY CARDS, NOR IS THERE                        State Farm Companies apply to the same
    COVERAGE FOR THE RECON-                           loss or expense, then only one policy ap-
    STRUCTION OF DATA CONTAINED                       plies. We will select a policy that pays the
    THEREIN;                                          most for the loss or expense.
16. ANY EQUIPMENT USED TO DETECT                   3. The physical damage coverages provided
    OR INTERFERE WITH SPEED MEAS-                     by this policy apply as primary coverage
    URING DEVICES;                                    for a loss to your car.
17. A CAMPER, INCLUDING ITS PARTS                      The Physical Damage Coverages also ap-
    AND ITS EQUIPMENT, THAT IS:                        ply as primary coverage for the mainte-
   a. DESIGNED TO BE MOUNTED ON                        nance or use of a non-owned car or a
      A PICKUP TRUCK;                                  temporary substitute car that is owned by
                                                       a person, firm, or corporation engaged in
   b. OWNED BY AN INSURED; AND
                                                       the business of selling at retail new or used
   c. NOT SHOWN ON THE DECLARA-                        motor vehicles. This applies only while
      TIONS PAGE; OR                                   the vehicle is operated by an insured if
18. ANY COVERED VEHICLE WHILE IT                       such person is neither an owner nor an
    IS:                                                employee of the owner of the car.


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   If similar coverage provided by one or more       2. If we pay such creditor, then we are enti-
   sources other than the State Farm Compa-             tled to the creditor’s right of recovery
   nies also applies as primary coverage for the        against you to the extent of our payment.
   same loss or expense, then the State Farm            Our right of recovery does not impair the
   Companies will pay the proportion of the             creditor’s right to recover the full amount
   loss or expense payable as primary that the          of its claim.
   maximum amount that may be paid by the
   State Farm Companies bears to the sum of          Our Payment Options
   such amount and the limits of all other simi-     1. Comprehensive Coverage and Collision
   lar coverage that applies as primary cover-          Coverage
   age.
                                                         a. We may, at our option, make payment
4. Except as provided in 3. above, the physi-               to one or more of the following for
   cal damage coverages provided by this                    loss to a covered vehicle owned by
   policy apply as excess coverage.                         you:
   If similar coverage provided by one or more               (1) You;
   sources other than the State Farm Companies
   also applies as excess coverage for the same              (2) The repairer; or
   loss or expense, then the State Farm Compa-               (3) A creditor shown on the Declara-
   nies will pay the proportion of the loss or ex-               tions Page, to the extent of its in-
   pense payable as excess that the maximum                      terest.
   amount that may be paid by the State Farm
   Companies bears to the sum of such amount             b. We may, at our option, make payment
   and the limits of all other similar coverage             to one or more of the following for
   that applies as excess coverage.                         loss to a covered vehicle not owned by
Financed Vehicle                                            you:
1. If a creditor is shown on the Declarations                (1) You;
   Page, then any Comprehensive Coverage
   or Collision Coverage provided by this                    (2) The owner of such vehicle;
   policy applies to that creditor’s interest in             (3) The repairer; or
   your car. Coverage for the creditor’s in-
   terest is only provided for a loss that is               (4) A creditor, to the extent of its in-
   payable to you.                                              terest.
   However, if this policy is cancelled or non-      2. Emergency Road Service Coverage and
   renewed, then we will provide coverage for           Car Rental and Travel Expenses Cover-
   the creditor’s interest until we notify the          age
   creditor of the termination of such cover-           We may, at our option, make payment to
   age. This coverage for the creditor’s interest       one or more of the following:
   is only provided for a loss that would have
   been payable to you if this policy had not           a. You;
   been cancelled or nonrenewed. The date               b. The insured who incurred the expense;
   such termination is effective will be at least           or
   10 days after the date we mail or electroni-
   cally transmit a notice of the termination to        c. Any party that provided the service for
   the creditor.                                            which payment is owed.


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         DEATH, DISMEMBERMENT AND LOSS OF SIGHT COVERAGE
                   AND LOSS OF EARNINGS COVERAGE
DEATH, DISMEMBERMENT AND LOSS DEATH, DISMEMBERMENT AND LOSS
OF SIGHT COVERAGE                  OF SIGHT BENEFITS SCHEDULES
This policy provides Death, Dismemberment           If the amount shown on the Declarations Page
and Loss of Sight Coverage if “S” is shown          for the insured is $5,000, then we will pay the
under “SYMBOLS” on the Declarations Page.           applicable benefit shown below for death or for
                                                    the described dismemberment or permanent loss
Additional Definition                               of sight:
Insured means a person whose name is shown          Death                                    $5,000
under “Death, Dismemberment and Loss of Sight       Loss of both hands; both feet; all       $5,000
Coverage – Persons Insured” on the Declarations     sight of both eyes; one hand and one
Page.                                               foot; or one hand or one foot and all
                                                    sight of one eye
Insuring Agreement                                  Loss of one hand or one foot; or         $2,500
We will pay the highest applicable benefit          all sight of one eye
shown in the following Death, Dismember-            Loss of the thumb and a finger on        $1,500
ment and Loss of Sight Benefits Schedules if        one hand; or any three fingers
an insured:                                         Loss of any two fingers                  $1,000
1. dies; or                                         The hand must be cut off through or above the
                                                    wrist. The foot must be cut off through or above
2. suffers dismemberment or permanent loss          the ankle. The whole thumb or finger must be cut
   of sight, as described in the schedule           off.
as the direct result of an accident that involves   If the amount shown on the Declarations Page
                                                    for the insured is $10,000, then we will pay the
the use of a land motor vehicle or any type of      applicable benefit shown below for death or for
trailer as a vehicle and not due to any other       the described dismemberment or permanent loss
cause.                                              of sight:
The insured must be occupying or be struck as       Death                                   $10,000
a pedestrian by a land motor vehicle or any         Loss of both hands; both feet; all      $10,000
type of trailer at the time of the accident. The    sight of both eyes; one hand and one
death, dismemberment, or permanent loss of          foot; or one hand or one foot and all
                                                    sight of one eye
sight must occur within 90 days immediately
following the date of the accident.                 Loss of one hand or one foot; or         $5,000
                                                    all sight of one eye
Benefit                                             Loss of the thumb and a finger on        $3,000
The applicable benefit shown in the schedule        one hand; or any three fingers
is the most we will pay for any one insured in      Loss of any two fingers                  $2,000
any one accident. Any benefit paid or payable       The hand must be cut off through or above the
for dismemberment or permanent loss of sight        wrist. The foot must be cut off through or above
reduces the death benefit.                          the ankle. The whole thumb or finger must be cut
                                                    off.



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The benefits shown in the schedules are dou-        Limit
bled for an insured who at the time of the ac-      The most we will pay any one insured is:
cident was occupying a private passenger car
and using a seat belt in the manner recom-          1. $250 for each full workweek of total dis-
mended by the vehicle’s manufacturer.                  ability; and
LOSS OF EARNINGS COVERAGE                           2. a pro rata portion of $250 for less than a
This policy provides Loss of Earnings Cover-           full workweek of total disability.
age if “Z” is shown under “SYMBOLS” on the          Subject to the workweek limit, the most we
Declarations Page.                                  will pay any one insured for all loss of weekly
Additional Definitions                              earnings due to any one accident is $15,000.
Insured means a person whose name is shown          We will pay once every two weeks the in-
under “Loss of Earnings Coverage – Persons          sured’s loss of weekly earnings owed.
Insured” on the Declarations Page.                  Exclusions – Death, Dismemberment and
Total Disability means the insured’s inability      Loss of Sight Coverage, and Loss of Earn-
to work, either full or part time, in his or her    ings Coverage
occupation or any other similar occupation for      DEATH, DISMEMBERMENT AND LOSS
which he or she is reasonably fitted by educa-
tion, training, or experience.                      OF SIGHT COVERAGE, AND LOSS OF
                                                    EARNINGS COVERAGE DO NOT APPLY
Weekly Earnings means 85% of all earnings           TO AN INSURED:
for the insured’s services before any deduc-
tions. When weekly earnings cannot be de-           1. WHILE IN THE COURSE AND SCOPE
termined on a weekly basis an average will be          OF HIS OR HER EMPLOYMENT IN A
used. The average is 85% of the total earnings         CAR BUSINESS;
for the 52 weeks just prior to the accident di-
vided by 52.                                        2. WHILE OCCUPYING, LOADING, OR
                                                       UNLOADING:
Insuring Agreement
We will pay the insured his or her loss of              a. AN EMERGENCY VEHICLE IN
weekly earnings, which occur while the in-                 THE COURSE AND SCOPE OF HIS
sured is living, due to continuous total disabil-          OR HER EMPLOYMENT;
ity that:                                               b. A VEHICLE, OTHER THAN AN
1. is the direct result of bodily injury caused            EMERGENCY VEHICLE, WHILE
     by an accident that involves the use of a             USED IN THE:
     land motor vehicle or any type of trailer as
     a vehicle and not due to any other cause.              (1) INSURED’S BUSINESS; OR
     At the time of the accident, the insured               (2) COURSE AND SCOPE OF HIS OR
     must be occupying or be struck as a pedes-                 HER EMPLOYMENT IN OTHER
     trian by a land motor vehicle or any type                  THAN A CAR BUSINESS.
     of trailer; and
2. starts within 20 days immediately follow-                This exclusion (2.b.) does not apply if
     ing the date of the accident and lasts for a           the vehicle is a private passenger car;
     period of at least 30 consecutive days. We         c. A MILITARY VEHICLE; OR
     will not pay for the first seven days of the
     30 day period.                                     d. A VEHICLE WHILE IT IS:

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       (1) BEING PREPARED FOR, USED                   a. WAR OF ANY KIND;
           IN PRACTICE FOR, OR OPER-                  b. NUCLEAR REACTION, RADIATION
           ATED IN ANY PREARRANGED                       OR RADIOACTIVE CONTAMI-
           RACING    CONTEST,   SPEED                    NATION FROM ANY SOURCE, OR
           CONTEST,     HILL-CLIMBING                    THE ACCIDENTAL OR INTEN-
           CONTEST, JUMPING CONTEST,                     TIONAL DETONATION OF, OR
           OR ANY SIMILAR CONTEST; OR                    RELEASE OF RADIATION FROM,
       (2) ON A TRACK DESIGNED PRI-                      ANY NUCLEAR OR RADIO-
           MARILY FOR RACING OR                          ACTIVE DEVICE;
           HIGH SPEED DRIVING. This                   c. THE DISCHARGE OF A FIREARM;
           exclusion (2.d.(2)) does not apply
           if the vehicle is being used in con-       d. SUICIDE OR ATTEMPTED SUI-
           nection with an activity other than           CIDE REGARDLESS OF WHETHER
           racing, high speed driving, or any            THE INSURED WAS SANE OR IN-
           type of competitive driving;                  SANE; OR
3. WHILE OCCUPYING, LOADING, UN-                      e. DISEASE except pus-forming infection
   LOADING, OR WHO IS STRUCK AS A
   PEDESTRIAN BY:                                        due to bodily injury sustained in the ac-
                                                         cident.
   a. A MOTOR VEHICLE THAT RUNS ON
      RAILS OR CRAWLER-TREADS;                    Our Payment Options – Death, Dismember-
                                                  ment and Loss of Sight Coverage, and Loss
   b. A MOTOR VEHICLE THAT IS DE-                 of Earnings Coverage
      SIGNED FOR USE PRIMARILY OFF                We may, at our option, make payment to one
      PUBLIC ROADS WHILE OFF PUB-                 or more of the following:
      LIC ROADS; OR
                                                  1. The insured;
   c. A MOTOR VEHICLE OR ANY TYPE
      OF TRAILER, EITHER OF WHICH IS              2. The insured’s surviving spouse;
      LOCATED FOR USE AS A DWELL-                 3. A parent or guardian of the insured, if the
      ING OR OTHER PREMISES; OR                       insured is a minor or an incompetent person;
4. FOR DEATH, DISMEMBERMENT,                          or
   LOSS OF SIGHT, OR TOTAL DISABIL-               4. A person or organization authorized by
   ITY THAT RESULTS FROM:                             law to receive such payment.




                                   INSURED’S DUTIES
1. Notice to Us of an Accident or Loss            (2)         the names and addresses of all per-
   a. The insured must give us or one of                      sons involved in the accident or loss;
      our agents notice of the accident or        (3)         the hour, date, place, and facts of
      loss as soon as reasonably possible.                    the accident or loss; and
      The notice must give us:                    (4)         the names and addresses of wit-
      (1) your name;                                          nesses to the accident or loss.

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   b. Notice of an accident may be submit-             b. Medical Payments Coverage, Unin-
       ted by a person making claim against               sured Motor Vehicle Coverage, Death,
       the insured if:                                    Dismemberment and Loss of Sight
       (1) the insured has not reported the               Coverage, or Loss of Earnings Cover-
            accident within 30 days immedi-               age, each insured, or any other person
            ately following the date of the ac-           or organization making claim or seek-
            cident; and                                   ing payment; and
       (2) the notice is sent by registered mail.      c. Physical Damage Coverages, each in-
                                                          sured or owner of a covered vehicle, or
2. Notice to Us of a Claim or Lawsuit                     any other person or organization mak-
   a. If a claim is made against an insured,              ing claim or seeking payment;
       then that insured must immediately              must, at our option, submit to an examina-
       send us every demand, notice, and               tion under oath, provide a statement under
       claim received.                                 oath, or do both, as reasonably often as we
   b. If a lawsuit is filed against an insured,        require. Such person or organization must
       then that insured must immediately send         answer questions under oath, asked by
       us every summons and legal process re-          anyone we name, and sign copies of the
       ceived.                                         answers. We may require each person or
                                                       organization answering questions under
3. Insured’s Duty to Cooperate With Us                 oath to answer the questions with only that
   a. The insured must cooperate with us               person’s or organization’s legal representa-
       and, when asked, assist us in:                  tive, our representatives, any person or
                                                       persons designated by us to record the
       (1) making settlements;                         questions and answers, and no other per-
       (2) securing and giving evidence; and           son present.
       (3) attending, and getting witnesses to      5. Other Duties Under the Physical Dam-
            attend, depositions, hearings, and         age Coverages
            trials.
                                                       When there is a loss, you or the owner of
   b. The insured must not, except at his or           the covered vehicle must:
       her own cost, voluntarily:
                                                       a. protect the covered vehicle from addi-
       (1) make any payment to others; or                 tional damage. We will pay any reason-
       (2) assume any obligation to others                able expense incurred to do so that is
       unless authorized by the terms of this             reported to us;
       policy.                                         b. make a prompt report to the police
   c. Any person or organization making                   when the loss is the result of theft;
       claim under this policy must, when we           c. allow us to:
       require, give us proof of loss on forms
       we furnish.                                         (1) inspect any damaged property be-
                                                               fore its repair or disposal;
4. Questioning Under Oath
   Under:                                                  (2) test any part or equipment before
                                                               that part or equipment is removed
   a. Liability Coverage, each insured;                        or repaired; and


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      (3) move the covered vehicle at our                  (c) wage, salary, and employment
          expense in order to conduct such                     information; and
          inspection or testing;
                                                           (d) any other information we deem
   d. provide us all:                                          necessary to substantiate the
      (1) records;                                             claim.
      (2) receipts; and                                    If an injured insured is a minor, un-
      (3) invoices                                         able to act, or dead, then his or her
                                                           legal representative must provide us
      that we request and allow us to make                 with the written authorization.
      copies; and
                                                           If the holder of the information re-
   e. not abandon the covered vehicle to us.               fuses to provide it to us despite the
6. Other Duties Under Medical Payments                     authorization, then at our request
   Coverage, Uninsured Motor Vehicle                       the person making claim or his or
   Coverage, Death, Dismemberment and                      her legal representative must ob-
   Loss of Sight Coverage, and Loss of                     tain the information and promptly
   Earnings Coverage                                       provide it to us; and
   A person making claim under:                        (4) allow us to inspect the vehicle that
                                                           the insured occupied in the accident;
   a. Medical Payments Coverage, Unin-
      sured Motor Vehicle Coverage, Death,          b. Uninsured Motor Vehicle Coverage must:
      Dismemberment and Loss of Sight                  (1) report an accident, involving a mo-
      Coverage, or Loss of Earnings Cover-                 tor vehicle whose owner and
      age must:                                            driver remain unknown, to the po-
      (1) notify us of the claim and give us               lice within 24 hours if the accident
          all the details about the death, in-             resulted in bodily injury and
          jury, treatment, and other informa-              within 10 days otherwise, and to
          tion that we may need as soon as                 us within 30 days;
          reasonably possible after the in-
          jured insured is first examined or           (2) send us immediately a copy of all
          treated for the injury. If the in-               lawsuit papers if the insured files a
          sured is unable to give us notice,               lawsuit against the party liable for
          then any other person may give us                the accident; and
          the required notice;                         (3) if making a claim for property
      (2) be examined as reasonably often as               damage:
          we may require by physicians cho-
          sen and paid by us. A copy of the                (a) allow us to:
          report will be sent to the person                    (i) inspect any property dam-
          upon written request;                                    age before its repair or
      (3) provide written authorization for                        disposal;
          us to obtain:                                        (ii) test any part or equipment
          (a) medical bills;                                        before that part or equip-
                                                                    ment is removed or re-
          (b) medical records;                                      paired; and


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               (iii) move the damaged property              (e) give us sworn proof of claim
                     at our expense in order to                 within 60 days of the accident.
                     conduct such inspection or                 This proof of claim must state:
                     testing; and                               (i) who owns the property
                                                                      and how much they own;
           (b) protect the damaged property
               from additional damage. We                       (ii) the amount of any claims
               will pay any reasonable ex-                            or liens on the property;
               pense incurred to do so that is                  (iii) the value of the property at
               reported to us;                                        the time of the accident;
           (c) provide us all:                                  (iv) details of the accident; and
                                                                (v) details of any other insur-
               (i) records;                                           ance applicable to the
               (ii) receipts; and                                     property; and
                                                     c. Loss of Earnings Coverage must:
               (iii) invoices
                                                        (1) make a claim under this policy;
               that we request and allow us to
                                                        (2) report to us when that person has a
               make copies;                                 total disability; and
           (d) not abandon the damaged prop-            (3) provide proof of continued total
               erty to us; and                              disability when we ask for it.




                                       GENERAL TERMS
1. When Coverage Applies                         b. in Canada; and
   The coverages provided by this policy are     c. while a vehicle for which coverage is
   shown on the Declarations Page and apply           provided by this policy is being
   to accidents and losses that occur during          shipped between the ports of the
   the policy period. The policy period is            United States of America, its territo-
   shown on the Declarations Page and is for          ries, its possessions, and Canada.
   successive periods of six months each for 3. Newly Owned or Newly Leased Car
   which the renewal premium is paid. The
   policy period begins and ends at 12:01 AM     If you want to insure a car newly owned
   Standard Time at the address shown on the     by you with the State Farm Companies af-
   Declarations Page.                            ter that car ceases to be a newly acquired
                                                 car, then you must either:
2. Where Coverage Applies
                                                 a. request we replace the car currently
   The coverages provided by this policy are          shown on the Declarations Page of this
   shown on the Declarations Page and apply           policy with the car newly owned by
   to accidents and losses that occur:                you and pay us any added amount due.
   a. in the United States of America and its         If you make such request while this
       territories and possessions;                   policy is in force and:
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       (1) before the car newly owned by             b. Change of Interest
           you ceases to be a newly acquired
           car, then that car newly owned by            (1) No change of interest in this policy
           you will be insured by this policy               is effective unless we consent in
           as your car beginning on the date                writing.
           the car newly owned by you is de-            (2) Except under Death, Dismember-
           livered to you. The added amount                 ment and Loss of Sight Coverage
           due will be calculated based on                  and Loss of Earnings Coverage, if
           that date; or                                    a named insured shown on the
       (2) after the car newly owned by you                 Declarations Page dies, then the
           ceases to be a newly acquired car,               definition of insured under each of
           then that car newly owned by you                 the coverages provided by this pol-
           will be insured by this policy as                icy is changed to include:
           your car beginning on the date and               (a) any person with lawful custody
           time you make the request. The                       of your car, a newly acquired
           added amount due will be calcu-                      car, or a temporary substitute
           lated based on that date; or                         car until a legal representative is
                                                                qualified; and then
   b. apply to the State Farm Companies
      for a separate policy to insure the car               (b) the legal representative of the
      newly owned by you. Such policy will                      deceased named insured.
      be issued only if both the applicant and              This only applies while such per-
      the vehicle are eligible for coverage at              son is maintaining or using your
      the time of the application.                          car, a newly acquired car, or a
4. Changes to This Policy                                   temporary substitute car.
   a. Changes in Policy Provisions                          Policy notice requirements are met
                                                            by mailing the notice to the most
       We may only change the provisions of                 recent policy address that we have
       this policy by:                                      on record for the deceased named
       (1) issuing a revised policy booklet, a              insured.
           revised Declarations Page, or an          c. Joint and Individual Interests
           endorsement; or
                                                        If you consists of more than one per-
       (2) revising this policy to give broader
                                                        son or entity, then each acts for all to
           coverage without an additional
                                                        change or cancel the policy.
           premium charge. If any coverage
           provided by this policy is changed        d. Change of Policy Address
           to give broader coverage, then we            We may change the named insured’s
           will give you the broader coverage           policy address as shown on the Decla-
           as of the date we make the change            rations Page and in our records to the
           effective in the state of Georgia            most recent address provided to us by:
           without issuing a revised policy
                                                        (1) you; or
           booklet, a revised Declarations
           Page, or an endorsement.                     (2) the United States Postal Service.

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5. Premium                                                not provided to us when we ask, then
                                                          we may decrease or increase the pre-
  a. Unless as otherwise provided by an al-               mium during the policy period. If we
     ternative payment plan in effect with                decrease the premium during the pol-
     the State Farm Companies with re-                    icy period, then we will provide a re-
     spect to the premium for this policy,                fund or a credit in the amount of the
     the premium is due and payable in full               decrease. If we increase the premium
     on or before the first day of the policy             during the policy period, then you
     period shown on the most recently is-                must pay the amount of the increase.
     sued Declarations Page or Renewal             6. Renewal
     Notice.
                                                      We agree to renew this policy for the
  b. The renewal premium for this policy              next policy period upon payment of the
     will be based upon the rates in effect, the      renewal premium when due, unless we
     coverages carried, the applicable limits,        mail or deliver a nonrenewal notice or a
     deductibles, and other elements that af-         cancellation notice as set forth in 7. and 8.
     fect the premium that apply at the time          below.
     of renewal.
                                                   7. Nonrenewal
  c. The premium for this policy may vary
     based upon the purchase of other in-             If we decide not to renew this policy, then,
     surance from the State Farm Compa-               at least 30 days before the end of the cur-
     nies.                                            rent policy period, we will mail or deliver a
                                                      nonrenewal notice to the most recent pol-
  d. The premium for this policy is based             icy address that we have on record for the
     upon information we have received                named insured and a creditor shown on the
     from you or other sources. You must              Declarations Page. If this policy is not re-
     inform us if any information regarding           newed because the renewal premium is not
     the following is incorrect or incom-             paid when due, then notice to the creditor
     plete, or changes during the policy pe-          will be sent at least 10 days before the end
     riod, and you must answer questions              of the current policy period.
     we ask regarding the following:
                                                   8. Cancellation
      (1) Your car, or its use, including an-
          nual mileage;                               a. How You May Cancel
      (2) The persons who regularly drive                 You may cancel this policy by provid-
          your car, including newly licensed              ing to us written notice of the date
          family members;                                 cancellation is effective. The cancella-
                                                          tion will be effective the later of either:
      (3) Your marital status; or
                                                          (1) the date you specify in your no-
      (4) The location where your car is pri-                 tice; or
          marily garaged.
                                                          (2) the date we receive your notice.
      If the above information or any other
      information used to determine the                   We may waive these requirements by
      premium is incorrect, incomplete,                   confirming the date and time of can-
      changes during the policy period, or is             cellation to you in writing.
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b. How and When We May Cancel                          c. Return of Unearned Premium
   We may cancel this policy by mailing                     If you cancel this policy, then premium
   or delivering a written notice to the                    may be earned on a short rate basis. If
   most recent policy address that we                       we cancel this policy, then premium
   have on record for the named insured                     will be earned on a pro rata basis.
   and a creditor shown on the Declara-                     Any unearned premium may be re-
   tions Page. The notice will provide the                  turned within a reasonable time after
   date cancellation is effective.                          cancellation. Delay in the return of
   (1) If we mail or deliver a cancellation                 any unearned premium does not affect
       notice:                                              the cancellation date.
       (a) during the first 59 days fol-         9.    Assignment
            lowing this policy’s effective             No assignment of benefits or other transfer
            date; or                                   of rights is binding upon us unless approved
       (b) because the premium is not                  by us.
            paid when due,                       10.   Bankruptcy or Insolvency of the Insured
       then the date cancellation is effective         Bankruptcy or insolvency of the insured or
       will be at least 10 days after the date         his or her estate will not relieve us of our
       we mail or deliver the cancellation             obligations under this policy.
       notice. However, if a check, draft, or
       other negotiable instrument used to       11.   Concealment or Fraud
       pay the premium during the first 59             There is no coverage under this policy if
       days following this policy’s effective          you or any other person insured under this
       date is not honored by a financial in-          policy has made false statements with the
       stitution for any reason, then the pol-         intent to conceal or misrepresent any mate-
       icy is void from its inception and the          rial fact or circumstance in connection
       promise of a 10 day advance notice              with any claim under this policy.
       does not apply.                           12.   Extended Coverage for Spouse
       Otherwise, the date cancellation is             If your car is a private passenger car, and
       effective will be at least 30 days              you either die or terminate your marriage,
       after the date we mail or deliver               any coverage provided by this policy to
       the cancellation notice.                        your spouse immediately prior to your
   (2) After this policy has been in force             death or termination of your marriage will
       for more than 59 days, we will not              continue for your spouse until the lesser of
       cancel this policy before the end of            90 days or the expiration of the policy pe-
       the current policy period unless:               riod.
       (a) the premium is not paid when          13.   Conformance to Statute
            due; or                                    If any provisions of this policy are in con-
       (b) any other person who usually                flict with the statutes of Georgia, they are
            drives your car has had his or             amended to conform to these statutes.
            her driver’s license under sus-      14.   Our Right to Recover Our Payments
            pension or revocation during
            the 180 days immediately be-               Death, Dismemberment and Loss of Sight
            fore the effective date of the             Coverage and Loss of Earnings Coverage
            policy or during the policy pe-            payments are not recoverable by us. Under
            riod.                                      all other coverages the following apply:
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a. Subrogation                                   15. Legal Action Against Us
   If we are obligated under this policy to         Legal action may not be brought against us
   make payment to or for a person or or-           until there has been full compliance with
   ganization who has a legal right to collect      all the provisions of this policy. In addi-
   from another person or organization, then        tion, legal action may only be brought
   we will be subrogated to that right to the       against us regarding:
   extent of our payment.
   The person or organization to or for             a. Liability Coverage after the amount
   whom we make payment must help us                   of damages an insured is legally li-
   recover our payments by:                            able to pay has been finally deter-
                                                       mined by:
   (1) doing nothing to impair that legal
        right;                                          (1) judgment after an actual trial, and
   (2) executing any documents we may                       any appeals of that judgment if any
        need to assert that legal right; and                appeals are taken; or
   (3) taking legal action through our repre-           (2) agreement between the claimant and
        sentatives when we ask.                             us.
   However, our right to recover our pay-           b. Medical Payments Coverage if the le-
   ments applies only to the extent that               gal action relating to this coverage is
   the person or organization to or for                brought against us within four years
   whom we make payment has been
   fully compensated for damages result-               immediately following the date of the
   ing from the accident.                              accident.
b. Reimbursement                                    c. Physical Damage Coverages if the legal
                                                       action relating to these coverages is
   If we make payment under this policy and
   the person or organization to or for whom           brought against us within one year im-
   we make payment recovers or has recov-              mediately following the date of the acci-
   ered from another person or organization,           dent or loss.
   then the person or organization to or for     16. Choice of Law
   whom we make payment must:
   (1) hold in trust for us the proceeds of         Without regard to choice of law rules, the
        any recovery; and                           law of the state of:
   (2) reimburse us to the extent of our            a. Georgia will control, except as pro-
        payment.                                       vided in b. below, in the event of any
                                                       disagreement as to the interpretation
   However, our right to recover our pay-              and application of any provision in this
   ments applies only to the extent that               policy; and
   the person or organization to or for
   whom we make payment has been                    b. Illinois will control in the event of any
   fully compensated for damages result-               disagreement as to the interpretation
   ing from the accident.                              and application of this policy’s:




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(1) Mutual Conditions provision found       17. Severability
    on the most recently issued Declara-
    tions Page, if this policy was issued      If any provision of this policy is held inva-
    by the State Farm Mutual Automo-           lid or unenforceable by a court that has ju-
    bile Insurance Company; or                 risdiction, then:
(2) Participating Policy provision             a. such provision will remain in full force
    found on the most recently issued             to the extent not held invalid or unen-
    Declarations Page, if this policy             forceable; and
    was issued by any subsidiary or
    affiliate of the State Farm Mutual         b. all other provisions of this policy will
    Automobile Insurance Company.                 remain valid and enforceable.




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            6911B AMENDATORY ENDORSEMENT

This endorsement is a part of the policy. Except for the changes this endorsement makes, all other
provisions of the policy remain the same and apply to this endorsement.
1. UNINSURED MOTOR VEHICLE                                    “Such vehicle must be used with
   COVERAGE                                                   the express or implied consent of
   a. The title “Uninsured Motor Vehicle                      you.”
      Coverage (Excess)”, wherever it ap-         2. GENERAL TERMS
      pears in the policy, has been changed
      to “Uninsured Motor Vehicle Coverage            Where Coverage Applies
      (Added To At-Fault Liability Limits)”.          The following is added:
   b. The title “Uninsured Motor Vehicle                  Liability Coverage, Medical Payments
      Coverage        (Difference-In-Limits)”,            Coverage, and Physical Damage Cov-
      wherever it appears in the policy, has              erages also apply in Mexico within 50
      been changed to “Uninsured Motor
      Vehicle Coverage (Reduced By At-                    miles of the United States of America
      Fault Liability Limits)”.                           border. A Physical Damage Coverage
                                                          loss in Mexico is determined on the
   c. Additional Definitions                              basis of cost at the nearest United
      Insured is changed by replacing the                 States of America point.
      sentence that reads:
                                                          Death, Dismemberment and Loss of
          “Such vehicle must be used within               Sight Coverage and Loss of Earnings
          the scope of your consent.”                     Coverage apply anywhere in the
      with the following:                                 world.




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6911B.1 AMENDATORY ENDORSEMENT

This endorsement is a part of the policy. Except for the changes this endorsement makes, all other
provisions of the policy remain the same and apply to this endorsement.
1. THIS POLICY                                                     insured is provided Liability
    Item 5. is changed to read:                                    Coverage by this policy.
        Your purchase of this policy may allow:                2. We have the right to:
        a. you to purchase or obtain certain                       a. investigate, negotiate, and
             coverages, coverage options, cov-                         settle any claim or lawsuit;
             erage deductibles, coverage limits,                   b. defend an insured in any
             or coverage terms on other products                       claim or lawsuit, with at-
             from the State Farm Companies,                            torneys chosen by us; and
             subject to their applicable eligibil-                 c. appeal any award or legal
             ity rules; or                                             decision
        b. the premium or price for other                          for damages payable under this
             products or services purchased by                     policy’s Liability Coverage.
             you, including non-insurance prod-
             ucts or services, to vary. Such other             Supplementary Payments
             products or services must be pro-                 We will pay, in addition to the dam-
             vided by the State Farm Compa-                    ages described in the Insuring
             nies or by an organization that has               Agreement of this policy’s Liabil-
             entered into an agreement or con-                 ity Coverage, those items listed be-
             tract with the State Farm Compa-                  low that result from such accident:
             nies. The State Farm Companies
             do not warrant the merchantability,               1. Attorney fees for attorneys
             fitness, or quality of any product or                 chosen by us to defend an in-
             service offered or provided by that                   sured who is sued for such
             organization.                                         damages. We have no duty to
                                                                   pay attorney fees incurred after
2. LIABILITY COVERAGE                                              we deposit in court or pay the
    a. Insuring Agreement and Supplemen-                           amount due under the Insuring
        tary Payments are replaced by the fol-                     Agreement of this policy’s Li-
        lowing:                                                    ability Coverage;
                                                               2. Court costs awarded by the
             Insuring Agreement                                    court against an insured and
             1. We will pay damages an in-                         resulting from that part of the
                  sured becomes legally liable to                  lawsuit:
                  pay because of:                                  a. that seeks damages payable
                  a. bodily injury to others; and                      under this policy’s Liability
                                                                       Coverage; and
                  b. damage to property
                                                                   b. against which we defend an
                  caused by an accident that in-                       insured with attorneys cho-
                  volves a vehicle for which that                      sen by us.
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   We have no duty to pay court                           pay, the amount due under
   costs incurred after we deposit                        the Insuring Agreement of
   in court or pay the amount due                         this policy’s Liability Cov-
   under the Insuring Agreement                           erage; and
   of this policy’s Liability Cover-              5. The following costs and ex-
   age;                                              penses if related to and in-
3. Interest the insured is legally                   curred after a lawsuit has been
   liable to pay on damages paya-                    filed against an insured:
   ble under the Insuring Agree-                     a. Loss of wages or salary, but
   ment of this policy’s Liability                        not other income, up to
   Coverage:                                              $200 for each day an in-
   a. before a judgment, but only                         sured attends, at our re-
        the interest on the lesser of:                    quest:
        (1) that part of the damag-                       (1) an arbitration;
             es we pay; or                                (2) a mediation; or
        (2) this policy’s applicable                      (3) a trial of a lawsuit; and
             Liability Coverage lim-
             it; and                                 b. Reasonable expenses in-
                                                          curred by an insured at our
   b. after a judgment.                                   request other than loss of
   We have no duty to pay interest                        wages, salary, or other in-
   that accrues after we deposit in                       come.
   court, pay, or offer to pay, the                  The amount of any of the costs
   amount due under the Insuring                     or expenses listed above that
   Agreement of this policy’s Li-                    are incurred by an insured
   ability Coverage. We also have                    must be reported to us before
   no duty to pay interest that ac-                  we will pay such incurred costs
   crues on any damages paid or                      or expenses.
   payable by a party other than
   the insured or us;                          b. Exclusions
4. Premiums for bonds, provided                   The exception to exclusion 11. is
                                                  changed to read:
   by a company chosen by us,
   required to appeal a decision in                  This exclusion does not apply
   a lawsuit against an insured.                     to damage to a:
   We have no duty to:                               a. motor vehicle owned by
   a. pay for any bond with a                             the employer of you or any
        face amount that exceeds                          resident relative if such
        this policy’s applicable Li-                      damage is caused by an in-
        ability Coverage limit;                           sured while operating an-
                                                          other motor vehicle;
   b. furnish or apply for any
        bonds; or                                    b. residence while rented to or
                                                          leased to an insured; or
   c. pay premiums for bonds
        purchased after we deposit                   c. private garage while rented
        in court, pay, or offer to                        to or leased to an insured;
                                 Page 2 of 4                                  6911B.1
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3. MEDICAL PAYMENTS COVERAGE                                 Death, Dismemberment and Loss
                                                             of Sight Coverage and Loss of
   Exclusions                                                Earnings Coverage apply anywhere
      The exception to exclusion 5. is                       in the world.
      changed to read:                                 b. The following is added:
          This exclusion does not apply to:                  Limited Coverage in Mexico
          a. you;                                            This policy does not provide Mexi-
          b. any resident relative; or                       can auto insurance and does not
                                                             comply with Mexican auto insur-
          c. any agent, employee, or busi-                   ance requirements. If you or any
              ness partner of a. or b. above                 other insured plan to drive in Mex-
          while maintaining or using your                    ico, then auto insurance providing
          car, a newly acquired car, a tem-                  coverage in Mexico should be pur-
          porary substitute car, or a trailer                chased from a Mexican insurance
          owned by you;                                      company.
4. UNINSURED         MOTOR         VEHICLE                   Subject to the above paragraph, the
   COVERAGE                                                  following coverages apply in Mex-
                                                             ico, but only for accidents and loss-
   a. The title “Uninsured Motor Vehicle                     es that occur in Mexico within 50
      Coverage (Excess)”, wherever it ap-                    miles of the United States of Amer-
      pears in the policy, has been changed to               ica border and only for in-sureds as
      “Uninsured Motor Vehicle Coverage                      defined under each of the following
      (Added To At-Fault Liability Limits)”.                 coverages:
   b. The title “Uninsured Motor Vehicle                     a. Liability Coverage
      Coverage (Difference-In-Limits)”, wher-                     For claims brought against an
      ever it appears in the policy, has been                     insured in Mexico, the Sup-
      changed to “Uninsured Motor Vehicle                         plementary Payments provi-
      Coverage (Reduced By At-Fault Liabil-                       sion of this policy’s Liability
      ity Limits)”.                                               Coverage is changed to read:
   c. Additional Definitions                                          We may, in addition to the
      Insured is changed by replacing the                             damages described in item
                                                                      1. of the Insuring Agree-
      sentence that reads:                                            ment of this policy’s Liabil-
           “Such vehicle must be used within                          ity Coverage, pay or
           the scope of your consent.”                                reimburse, at our option,
                                                                      reasonable attorney fees for
      with the following:                                             an attorney licensed in
           “Such vehicle must be used with                            Mexico to appear for and
                                                                      provide advice to insureds
           the express or implied consent of                          as defined under this poli-
           you.”                                                      cy’s Liability Coverage.
5. GENERAL TERMS                                                      The amount of such attor-
                                                                      ney fees incurred by an in-
   a. Where Coverage Applies                                          sured must be reported to
      The following is added:                                         us before we will make
                                                                      payment.
                                         Page 3 of 4                                    6911B.1
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b. Medical Payments Coverage                         Legal Action Against Us
c. Physical Damage Coverages                         Any legal action against us arising out
     Any amount payable for the repair               of an accident or loss occurring in Mex-
     or replacement of the covered vehi-             ico must be brought in a court that has
     cle under the Limits and Loss Set-              jurisdiction in the state of Georgia in
     tlement      –      Comprehensive               the United States of America.
     Coverage and Collision Coverage              c. Paragraph c. of 5. Premium is changed
     provision of this policy will be lim-           to read:
     ited to the cost to repair or replace                c. The premium for this policy
     the covered vehicle in the United                        may vary based upon:
     States of America.
                                                              (1) the purchase of other prod-
WE HAVE NO DUTY TO PROVIDE                                        ucts or services from the
A DEFENSE FOR YOU OR ANY                                          State Farm Companies;
OTHER INSURED IN ANY CRIMI-
NAL, CIVIL, OR OTHER ACTION.                                  (2) the purchase of products or
                                                                  services from an organiza-
WE HAVE NO DUTY TO PAY ANY                                        tion that has entered into an
CLAIM OR COST THAT WOULD                                          agreement or contract with
NOT BE PAYABLE UNDER THIS                                         the State Farm Compa-
POLICY IF THE ACCIDENT OR                                         nies. The State Farm
LOSS HAD OCCURRED IN THE                                          Companies do not warrant
STATE OF GEORGIA IN THE UNITED                                    the merchantability, fitness,
STATES OF AMERICA.                                                or quality of any product or
All other policy provisions not in con-                           service offered or provided
flict with the provisions in this Lim-                            by that organization; or
ited Coverage in Mexico provision of                          (3) an agreement, concerning
this policy apply.                                                the insurance provided by
If Other Coverage Applies                                         this policy, that the State
Any coverage provided by this Limited                             Farm Companies has with
Coverage in Mexico provision is ex-                               an organization of which
cess over any other applicable insur-                             you are a member, employ-
ance.                                                             ee, subscriber, licensee, or
                                                                  franchisee.




                                    Page 4 of 4                                     6911B.1
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A901E
 H                                                                                                     43400-4-B                 MUTL VOL
                            State Farm Mutual Automobile Insurance Company
 I4SX0N
                            11350 Johns Creek Parkway                                                        DECLARATIONS PAGE
                            Duluth GA 30098                                                                                                          ____
                                   NAMED INSURED
                            AT2                                          11-1393-4XCB      A         POLICY NUMBER 253 1177-D19-11B
                                                    006481
                            RELF, LARRY & CLARA                                                      POLICY PERIOD APR 19 2009 to OCT 19 2009
                                                                                                       12:01 A.M. Standard Time
 ____                       PO BOX 6245
                            COLUMBUS GA 31917-6245
                                                                                                       STATE FARM PAYMENT PLAN NUMBER
 ____                                                                                                  1016639727                                    ____
 ____                                                                                                 AGENT                                          ____
                                                                                                      ROBERT WILLIS
 ____                                                                                                 4006 BUENA VISTA ROAD                          ____
                                                                                                      COLUMBUS, GA 31907-3804



                                                                                                      PHONE: (706)563-6975
                   DO NOT PAY PREMIUMS SHOWN ON THIS PAGE.
                   IF AN AMOUNT IS DUE, THEN A SEPARATE STATEMENT IS ENCLOSE D.
                                                           YOUR CAR
                   YEAR                    MAKE              MODEL                 BODY STYLE     VEHICLE ID. NUMBER                CLASS
                    2006              PONTIAC                TORRENT               SPORT WG       2CKDL63F066172713          6D3H30H000



                     SYMBOLS                 COVERAGE & LIMITS                                                         PREMIUMS


                     A                       Liability Coverage                                                         $156.65
                                               Bodily Injury Limits
                                               Each Person, Each Accident
                                               $50,000         $100,000
                                               Property Damage Limit
                                               Each Accident
                                               $50,000
                     C                       Medical Payments Coverage                                                     $30.84
                                               Limit - Each Person
                                               $10,000
                     D                       Comprehensive Coverage - $500 Deductible                                    $63.25
                     G                       Collision Coverage - $500 Deductible                                       $167.83
                     H                       Emergency Road Service Coverage                                              $2.00
                     R1                      Car Rental and Travel Expenses Coverage                                     $12.60
                                               Limit - Car Rental Expense
                                               Each Day,       Each Loss
                                               80%             $500
                     UE                      Uninsured Motor Vehicle Coverage (Excess)                                     $47.10
                                               Bodily Injury Limits
                                               Each Person, Each Accident
                                               $25,000         $50,000
                                               Property Damage Limit
                                               Each Accident
                                               $25,000

                                                  Total premium for APR 19 2009 to OCT 19 2009.                        $480.27


                 IMPORTANT MESSAGES
              The laws of the State of Georgia prohibit insurers from unfairly discriminating against any person based upon his or her status as a
              victim of family violence.
              Replaced policy number 2531177-11A.
              New Policy Form
              You have affirmatively chosen Uninsured Motor Vehicle (Coverage U) limits in an amount less than the limits of Bodily Injury/
              Property Damage Liability (Coverage A). If you want different coverage limits, please contact your State Farm agent.

              EXCEPTIONS, POLICY BOOKLET & ENDORSEMENTS (See policy booklet & individual endorsements for coverage details.)
              YOUR POLICY CONSISTS OF THIS DECLARATIONS PAGE, THE POLICY BOOKLET -
              FORM 9811B, AND ANY ENDORSEMENTS THAT APPLY, INCLUDING THOSE ISSUED TO YOU
              WITH ANY SUBSEQUENT RENEWAL NOTICE.
              CREDITOR- MEA FEDERAL CREDIT UNION, 6333 WHITESVILLE ROAD, COLUMBUS GA
              31904-3241.
              RESIDENCE-2515 LACEY OAK CT, COLUMBUS GA 31907-6861.



                                                                                                                                                      R
                                                                                                  Agent:     ROBERT WILLIS
                                                                                                  Telephone: (706)563-6975
               09972/06442                                                   See Reverse Side     Prepared   APR 20 2009       1393-844
  155-3866.2 04-2005 (o1a025hd)                                 (o1a0254c)
                              (o1a025te)
H
B10
                                      Certified Policy Record
I, the undersigned, do hereby confirm that I am custodian of the records pertaining to the issuance of
policies by State Farm Mutual Automobile Insurance Company.

I certify that the attached documents represent a true and accurate record of the terms and conditions
of Policy Number 253 1177-D19-11B including any endorsements, if applicable, for the policy term(s)
10/19/2014 to 12/20/2014 and insuring RELF, LARRY & CLARA based on available records.

The following endorsements are included:
6911B EFFECTIVE 10/19/2009
6911B.1 EFFECTIVE 04/19/2011

It is State Farm's business practice to print a new Declarations Page only when a policy issuance
transaction such as a change of coverage occurs. Therefore, the included Declarations Page which
was in effect at the time of loss will indicate the policy period of the last policy issuance transaction.

The policy was in effect on the loss date of 12/19/2014.




                                                         ____
                                                         __ ____
                                                            __   ____
                                                                 __ ____
                                                                    __ ____
                                                                       __ ____
                                                                          __ ________________
                                                                             __
                                                         _________________________________
                                                         Jeff
                                                         Je ffre
                                                            ff rey
                                                               re
                                                         Jeffrey  y Kressner
                                                                    Kr
                                                         Underwriter
                                                                  01/31/2019
                                                         Date:___________________




1004516                                                                               2000 143551 200 03-21-2012
